                                  Exhibit G




Case: 19-30088   Doc# 522-4   Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 1
                                       of 9
Chico Enterprise-Record
400 E. Park Ave.
Chico, Ca 95928
530-896-7702
erlegal@chicoer.com

3809751

PG&E CORPORATION
77 BEALE STREET                                                             Legal No.    0006294341
SAN FRANCISCO, CA 94177




     IN THE SUPERIOR COURT OF THE
          STATE OF CALIFORNIA,
    IN AND FOR THE COUNTY OF BUTTE
In The Matter Of
R2110116




            AFFIDAVIT OF PUBLICATION
                 STATE OF CALIFORNIA

                 COUNTY OF BUTTE
                                             }          SS.


The undersigned resident of the county of Butte, State of
California, says:

That I am, and at all times herein mentioned was a citizen
of the United States and not a party to nor interested in
the above entitled matter; that I am the principal clerk of
the printer and publisher of

                 The Chico Enterprise-Record
                 The Oroville Mercury-Register

That said newspaper is one of general circulation as
defined by Section 6000 Government Code of the State of
California, Case No. 26796 by the Superior Court of the
State of California, in and for the County of Butte; that
said newspaper at all times herein mentioned was printed
and published daily in the City of Chico and County of
Butte; that the notice of which the annexed is a true
printed copy, was published in said newspaper on the
following days:
                              02/14/2019
Dated February 14, 2019
at Chico, California




(Signature)



                    Case: 19-30088         Doc# 522-4    Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 2
r.BP7-01/27/16                                                  1 of 9
 4    |   D
              CLASSIFIEDS |               ENTERPRISE-RECORD+MERCURY-REGISTER                                                                                                                                                                                                                                     THURSDAY, FEBRUARY 14, 2019
                                                                                                                                                                                                                                                                                                      NOTICE OF INTENT TO
                                                                                                                                                                                                                                           Legal Notices   Legal Notices                           REQUEST RELEASE OF FUNDS
                                                                                                                                                    g                                              y
                                                                                                                                                 2/7/2019                      court should not
                                                                                                                                                 Statement               Ex- grant                        the February 14, 2019
                                                                                                                                                 pires On: 2/7/2024 authority.
                                                                                                                                                 Business Is Con- A hearing on the County of Butte
                                                                                                                                                 ducted By: Indi- petition will be 25 County Center Drive, Suite 213
                                                                                                                            Legal Notices vidual. This state- held in this court Oroville, CA 95965
                                                                                                                                                 ment was filed in as follows:                                    (530) 552-3337
                                                                                                                              FICTITIOUS         the office of Can- Date: March 5,
CHRIS
 Friends
           SJOSTROM          HAPPY 42ND            RILYN WISHING YOU
               forever Valentines Day to A HAPPY VALEN-
                                                                                                                               BUSINESS          dace J. Grubbs, 2019 Time 9:00 On or about March 4, 2019 the County
 hugs & kisses Be my Barbie boo. You TINES DAY YOU                                                                               NAME            County Clerk of a.m. Dept: TBA of Butte will submit a request to the
 my Valentine. -Lon       make every day WILL ALWAYS BE                                                                     STATEMENT OF Butte County, on Room: Address of Department of Housing and Com-
                          new and fresh with GRAND
Aurelia (Re) T h i s your special giving SWEET PEA AND
                                                                   MA’S                                                     ABANDONMENT February 7, 2019, court:                                 Superior munity Development for the release
 year will be 40 ways. You’ll have GRAND PA’S PRIN-                                                                       The  following         By:     S.       Mitzel,      Court                         of of Community Development Block
 years        married. my undying love CESS WE LOVE YOU                                                                   person(s) is (are) Deputy.                           California, County Grant funds under Title 1 of the
 Thank you for al- for eternity as you ALL THE WAY TO                                                                     doing business         FBN          Number: of Butte,                         1775 HOUSING AND COMMUNITY DEVELOP-
 ways being ther for are my forever THE STARS AND                                                                         as RUSHSTROKES 2019-0000194                          Concord Avenue, MENT ACT of 1974, as amended, to
 me and for all you love. I love you al- BACK                                                                             ART STUDIO AND Publish:                    2/14, Chico, CA 95928                        undertake a program known as the
 do for me. I love ways, your Susan.                                                                                                                                                                              Housing Rehabilitation Loan Program
 you. Happy Valen- Patches,                                                                                               GALLERY at 1967        2/21, 2/28, 3/7/19 Branch Name:
                                           and                                                                            Montgomery                                           If   you       object         to   within the unincorporated area of
 tine’s Day. Larry.       Shadow love you
                          too.                                                                                            Street Oroville,            NOTICE OF                the granting of Butte County in an effort to correct
                                                       Jimmy loves
                                                                                FREE !!!        1999 CLASS C RV, CA 95965
                                                                                                                                                       PETITION                the petition, you health and safety hazards in deterio-
                          Dear Amy-How do I                             6X4 cloth couch. 7x4 Jamboree, 24’. Xlnt County of Butte                                                                                  rated housing, and to extend the use-
Barb,                      get the wonderful            Brenda Ann        cloth couch. Men’s cond. 47K mi $12,500.                                 TO ADMINISTER should appear at ful life of existing housing units.
                                                   Happy   Valentime to   leather jacket size 707-217-5956                HANSON,     TED             ESTATE OF:               the      hearing          and
Happy Valentine’s gals that at the Stu-              my wife, my best
Day 2019 to an dio Lounge to be my friend, my powdered                    34. Womens hiking                               EDWARD                 LARRY                  JOE state                       your Loans and grants will be available to
amazing, beautiful, valentine- Hopeful                donut. Looking
                                                                         boots   size 8.5. Misc WESTWOOD          (LAKE   1244   Mt    Ida   Rd  PADELFORD,           AKA      objections or file achieve cost-effective repairs for ap-
                                in Chico                                   womens clothes        ALMANOR AREA). Oroville, CA 95966                                                                                proximately fifteen (15) income-
wife, best friend and                                 forward to the        various sizes.       1bd., or 3 bd. apts.                            LARRY                      J. w r i t t e n eligible households from December
partner in life.                                      next 20 years.                                                      HANSON, ROBIN PADELFORD AND objections                                        with
                                                                             916-316-3909        priced   from      $400-
I appreciate all you
do for me, you’re my                                                                             $600/mo. 1 yr lease LYNN                        L A R R Y                     the court before 2018 through July 2023. Approximate-
forever     valentine.
                                                                        2007      Komfort 5th req. Section 8 ac- 1244 Mt Ida Rd
                                                                                                                                                 PADELFORD                     the hearing. Your ly $930,233 will be available through
        Love you
                                                                         Wheel, 26.5’, single cepted.
                                                                         popout, sleeps 4. pays
                                                                                                                  Owner Oroville, CA 95966
                                                                                                                                                 CASE NUMBER:                  appearance may the 17-CDBG-12012 grant as well as
          always baby                      KIMBERLEY                                                      wtr/sewer/ B e g a n
                                                                         Xlnt. cond., barely trash. Call Jackie                                  19PR00055                     be in person or by $200,000 in future Program Income.
                                                                         used. Must see to for more info. 408- T r a n s a c t i n g To                  all        heirs,     your attorney.
      Dee, Roses                       You are the best                  appreciate. $17,500. 593-1843.                   B u s i n e s s : b e n e f i c i a r i e s , If you are a The activities proposed ARE CATEGO-
   sometimes red,                        Daughter ever
  violets are some-                     I am very lucky
                                                                         Call for more info                               7/6/2016               c r e d i t o r s , creditor                       or        a RICALLY EXCLUDED UNDER HUD REG-
 times blue, for over                  The worlds best
                                                                         916-451-1315                                     S t a t e m e n t c o n t i n g e n t c o n t i n g e n t ULATIONS AT 24 CFR PART 58 FROM
    15 years you’ve                                                                                                       Expires           On: creditors,                                                        NATIONAL ENVIRONMENTAL POLICY
   made my dreams
                                            Daughter                                                                                                                   and creditor of the ACT (NEPA) REQUIREMENTS. An Envi-
                                           Son-In-Law                                                                     7/26/2021                                            decedent,                  you
  come true. Happy                      Grand Daughter                                                                                           persons who may                                                  ronmental Review Record (ERR) that
                                                                                                                          Business            Is otherwise                be must file your documents the environmental deter-
                                                                                        Be sure to
     Anniversary                           Grand Son
     xoxoxo-Mikey                         Great Grand                                                                     Conducted         By:  interested in the             claim          with        the
                                             Children                                                                     G e n e r a l will or estate, or court and mail a minations for this project is on file at
Rose, the poet’s                    Wishing you all a very                                                                Partnership This both, of LARRY copy                                 to         the the County of Butte Administrative

                                                                                        watch for
 words barely audi-
 ble, almost dor-
                                   HAPPY VALENTINE’S DAY                                                                  statement        was JOE PADELFORD, p e r s o n a l Office located at 25 County Center
 mant. Inspiration’s                                                                                                      filed in the office AKA LARRY J. r e p r e s e n t a t i v e Drive, Suite 213, Oroville, California
                                           Love T.O.M.
 embers          linger,                                                                                                  of CANDACE J. PADELFORD AND appointed by the and may be examined or copied
                                                                                                                                                                               court within the weekdays 8:00 A.M. to 5:00 P.M.
                                                                                         the new
 longing to ignite.                                                                                                       GRUBBS, County L A R R Y
 Blessed is he to re-                                                                                                     Clerk of Butte PADELFORD                             later of either (1)
 member, he knows                                                                                                                                                                                                                  PUBLIC COMMENTS
 the kiss, the touch,                         JEWELL                                                                      County,            on A Petition for four months from
                                                                                                                          January 16, 2019, Probate has been the date of first
                                                                                           NCH!
 the intimate em-
 brace. 9/25/99 Un-                  You are number one                                                                   By: N. ROYBAL, filed by: DAVID issuance                                            of Any individual, group, or agency may
 conditional Love,                     The one and only                                                                   Deputy.                LEWELLEN          in   the    letters to                     a submit written comments on the ERR
 Gus                                      Number one                                                                      FBN Number: 2016- Superior Court of general personal to the Butte County Administrative
                                                                                                                          0000942                                                                                 Office located at 25 County Center
LOGAN        WISHING                      At the Big 8-0                                                                                         California, County representative, as Drive, Suite 213, Oroville, California
 YOU A HAPPY VAL-                    You are number one                                                                   Publish:        2/07, of: BUTTE                      defined in section
                                                                                             Publishing the                                                                                               the 95965. All comments received by
 ENTINES DAY, YOU                                                                                                         2/14,           2/21, The petition for 58(b)                         of
 WILL ALWAYS BE
 GRAND MA’S LITTLE
                                                 For                                                                      2/28/2019              probate requests              C   a  l  i  f  o   r  n   i  a March 4, 2019 will be considered by
                                             62 Years                                                                                                                          Probate Code, or the County of Butte prior to authoriz-
                                                                                             last Friday of
 MAN AND GRAND                              10 Months                                                                                            that:             DAVID
                                                                                                                              FICTITIOUS                                                                          ing submission of a request for re-
 PA’S BUD WE LOVE                             22 Days                                                                          BUSINESS          LEWELLEN                 be (2) 60 days from lease of funds.
 YOU ALL THE WAY                                                                                                                                                               the           date            of
 TO THE STARS AND                                                                                                                NAME            appointed                as
 BACK
                           You are and always will be number one
                                    Happy Valentine’s Day
                                               T.O.M.
                                                                                               the month!                 The
                                                                                                                              STATEMENT          p e r s o n a l mailing
                                                                                                                                                                               personal delivery
                                                                                                                                     following representative to to you of a notice
                                                                                                                                                                                                             or
                                                                                                                                                                                                                      ENVIRONMENTAL CERTIFICATION

                                                                                                                          person(s) is (are) administer                 the
                                                                                                                                                                                                   section The County of Butte certifies to HCD
                                                                                                                          doing       business estate          of       the under
                                                                                                                                                                               9052            of         the that Shari McCracken in her capacity
                                                                                                                          as I N T E G R I T Y decedent.                       C a l i f o r n i a as Chief Administrative Officer
                                                                                                                                                                                                           August, 2015

                                                                                                         Inside:
                                                                                                                          BUILDERS 2             The            petition
                                                                                                                                                                        the Probate                   Code. consents to accept the jurisdiction of
                                                                                                                          at 2358 Moyer requests
                                                                                                                                                                                                       Real Estate


                                                                                                                                                                               Other California the Federal Courts if any action is
                                                                                                                                                                                                       Patterns

                                                                                                                 19                              decedent’s             will
                                                                                                                          Way Chico, CA
                                                                                                                                                                                                        by Doug

                                                                                                                                                                                                                  brought to enforce responsibilities in
                                                                                                                                                                                                                            ...
                                                                                                                                                                                                        Love...............



                                                                                                                                                 and codicils, if statutes and legal relation to the environmental review
                                                                                                                                                                                                         Trending today

                                                                                                                 21       95926                                                authority                may
                                                                                                                                                                                                          By Dan
                                                                                                                                                                                                          Bosch.......
                                                                                                                                                                                                                       ..........


                                                                                                                          County of Butte        any, be admitted
                                                                                                                                                                               affect your rights process and that these responsibili-
                                                                                                                          I N T E G R I T Y to probate. The as a creditor. You ties have been satisfied. The State’s
                                                                                                                          BUILDERS 2 LLC         will and codicils
                                                                                                                                                                               may           want            to approval of the certification satisfies
                                                                                                                          2358 Moyer Way are available for consult with an its responsibilities under NEPA and
                                                                                                                          Chico, CA 95926        examination .66 of an acrein                  an attached
                                                                                                                                                                             property offers along with
                                                                                                                                                                                        RV pad
                                                                                                                                                                                                                  related laws and authorities and al-
                                                                                                                                                 the file kept by a t t o r n e y lows the County of Butte to use Pro-
                                                                                                                                               storage? This sed RV garage, and                            te
                                                                                                                                   e, or extra                                            plan with grani
                                                                                                                       , RV garag                  a large enclo features. Open floor              room has
                                                                                                         g for a shop             with 220, and              erful                   area. Living

                                                                                                                          B e g a n
                                                                                        Are you lookin              3-car shop                   many wond             , and dining                additional
                                                                                                      e, detached newer home that has                   drawers, island room. There are many master
                                                                                        2-car garag

                                                                                                                                                                               knowledgeable in
                                                                                                               m  built                        pull out
                                                                                                        custo                           n with
                                                                                        a one-owner counter tops in the kitche to an added on enclo
                                                                                                                                                               sed patio                 area off the

                                                                                                                                                 the  court.
                                                                                                     tion                             out                       windo  ws, trellis patio 1,370 sq. ft. located
                                                                                               forma                      that leads              ry, dual pane                     bth,

                                                                                                                          Transacting
                                                                                         trans                                                                     ghout. 3 bed/2

                                                                                                                                                                                                                  gram funds.
                                                                                                            and a slider             inside laund
                                                                                         gas wood stove a whole house fan, of ownership shines throu



                                                                                                                                                                petition California law.
                                                                                                          as
                                                                                          features such al heat and air and pride ,000.



                                                                                                                          B u s i n e s s : The
                                                                                                                                     $339
                                                                                          bedroom, centr but close to town!
                                                                                                           rds
                                                                                           near the orcha



                                                                                                                                                 r  e  q  u   e   s   t   s    You may examine
                                                                                                                          1/25/2019                                                                                 OBJECTIONS TO RELEASE OF FUNDS
                                                                                                                          S t a t e m e n t authority                     to the file kept by
                                                                                                                                                                               the     court.        If   you
                                                                                                                          Expires           On: administer              the
                                                                                                                                                                                                   person HCD will accept objections to its re-
                                                                                                                          1/31/2024              estate under the are                      a
                                                                                                                                                 I n d e p  e  n  d  e   n  t  interested in the lease of funds and the County of But-
                                                                                                                          Business            Is                               estate, you may te’s certification for a period of fif-
                                                                                                                          Conducted         By: Administration of file with the court teen days following the anticipated
                                                                                                                          Individual       This  Estates     Act.    (This                                        submission date or its actual receipt
                                                                                                                                           was authority                will a Request for of the request (whichever is later)
                                                                          Legal Notices Legal Notices statement                                  allow                  the    Special               Notice
                                                                                                                          filed in the office                                  (form DE-154) of only if it is on one of the following
                                                                         NOTICE TO CREDITORS OF BULK SALE of CANDACE J. p e r s o n a l the filing of an bases: (a) the certification was not
                                                                                   (Secs 6101-6107 U.C.C.)                GRUBBS, County representative to inventory                                     and executed by the Certifying Officer of
                                                                             (This form provided by Bidwell               Clerk of Butte take                       many
                                                                                                                                                                               appraisal                     of the County of Butte; (b) the County of
                                                                                                                          County,            on  actions        without
                                                                                 Title & Escrow Company)
                                                                                                                                                 obtaining          court      estate assets or Butte has omitted a step or failed to
                                                                                                                          January 31, 2019,                                    of any petition or make a decision or finding required
                                                                        1. Notice is hereby given to cred By: N. ROYBAL, approval. Before account                                                            as by HUD regulations at 24 CFR Part 58;
                                                                             itors of the within named seller(s) Deputy.                         taking          certain
                                                                                                                                                 very       important          provided                      in (c) the grant recipient or other par-
                                                                             that a bulk sale is about to be FBN Number: 2019-                                                 Probate                 Code       ticipants in the development process
                                                                             made of the assets described 0000165                                actions, however,                                                have committed funds, incurred
                                                                                                                                                                               section           1250.        A
                                                                             below:                                       Publish:        2/07, the           personal
                                                                                                                                                                               Request                      for   costs or undertaken activities not au-
                                                                                                                          2/14,           2/21, r e p r e s e n t a t i v e Special                  Notice thorized by 24 CFR Part 58 before ap-
                                                                        2. The name(s)             and business 2/28/2019                        will   be     required                                           proval of a release of funds by HCD;
                                                                             address of the seller(s) are :                                      to give notice to form is available or (d) another Federal agency acting
                                                                                                                          FICTITIOUS BUSINESS i n t e r e s t e d from the court pursuant to 40 CFR Part 1504 has
                                                                        Frederick N Stuelpnagel,                           NAME STATEMENT persons                 unless clerk.                                   submitted a written finding that the
                                                                        aka Rick Norman Stuelpnagel                       The        following they have waived Attorney for                                      project is unsatisfactory from the
                                                                                                                          person(s) is (are) notice                       or   Petitioner:
                                                                        4031 Songbird                                                                                          Jackson         Glick              standpoint of environmental quality.
                                                                        Chico, CA 95973                                   doing business as consented to the                                                      Objections must be prepared and
                                                                                                                          BOWEN’S FLOOR          p r o p o s e d               P.O.          Box          908
                                                                                                                                                                                                                  submitted in accordance with the re-
                                                                        3. The location in California of the COVERING                            action.)              The Gridley, CA 95948 quired procedures (24 CFR Part 58,
                                                                                                                          1515 Grand   Avenue    i n d e p  e  n  d  e   n  t  530-846-5691
                                                                             chief executive office of the seller
                                                                                                                          Oroville, CA 95965     a d m i n i s t r a t i o n Publish:                   2/11, Sec. 58.76) and shall be addressed to
                                                                             is (if "same as above" so state):                                                                                                    HCD, at 2020 W. El Camino Avenue,
                                                                                                                          County of Butte.       authority will be 2/14, 2/19/2019                                Sacramento, CA 95833. Potential ob-
                                                                        708 Mangrove Avenue, Chico, CA 95926              Bowen, Dayne           granted     unless       an    THINKING About jectors should contact HCD to verify
                                                                                                                          Wesley                 interested person remodeling? Get the the actual last day of the objection
                   BUSINESS OPPORTUNITY                                 4. The name(s) and business ad- 1515 Grand Avenue files an objection help you need with the period.
                                                                                                                          Oroville, CA 95965; to the petition experienced people
                                                            CALL TODAY 530-896-7710




               DRIVERS NEEDED                                           dress of the buyer(s) are :
                                                                                                                          Began Transact- and shows good advertising in the Key Shari McCracken
                                                                        Heel & Sole Shoes, a General Partnership ing                Business: cause why the To Home And Chief Administrative Officer
                                                                        708 Mangrove Avenue                                            AUCTION NOTICE                           Business Section. Call County of Butte
                                                                        Chico, CA 95926                                                                                         896-7777.                         2/14/2019
                                                                                                                               Wednesday, February 20, 2019                                    United States Bankruptcy Court for the Northern District of California
                                                                        5. The Business name used by the                                                                        Debtors: PG&E Corporation and Paciﬁc Gas and Electric Company
                                                                        seller(s) at said location is :                   Notice is hereby given that the Date cases ﬁled in chapter 11: 01 / 29 / 2019
                                                                                                                          undersigned intends to sell personal Case number: 19-30088 (DM) (Lead Case; Jointly Administered)
                                                                        Heel and Sole Shoes                               property described below to enforce Notice                    of Chapter 11 Bankruptcy Cases
                                                                                                                                                                                   For the debtors listed above, cases have been ﬁled under chapter 11 of the Bankruptcy Code
                                                                                                                          a lien imposed on said property and orders for relief have been entered. This notice has important information about the cases
                                                                        ESCROW HOLDER:                                    pursuant to the Sections 21700-21716 for creditors, debtors, and trustees, including information about the meeting of creditors and
                                                                                                                          of the Business and Professions Code deadlines.

             Routes
                                                                                                                                                                                   The ﬁling of the cases imposed an automatic stay against most collection activities.
                                                                        BIDWELL TITLE & ESCROW CO.                        section 2328 of the UCC, Section 535 This means that creditors generally may not take action to collect debts from the debtors or
                                                                        500 Wall Street, Chico, CA 95928                  of the Penal code and Provisions of                   the debtors’ property. For example, while the stay is in effect, creditors cannot sue, assert a
                                                                                                                                                                                deﬁciency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
                                                                                                                          the Civil Code.

           available in
                                                                                                                                                                                demand repayment from the debtors by mail, phone, or otherwise. Creditors who violate the stay
                                                                        ESCROW OFFICER: Becky Schroer                                                                           can be required to pay actual and punitive damages and attorney’s fees.
                                                                        Order No. : 00262407-002                          The undersigned will sell at Public to have              Conﬁrmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants
                                                                                                                                                                                         a particular debt excepted from discharge may be required to ﬁle a complaint in the
                                                                        DATE OF ANTICIPATED SALE :                        Auction by competitive bidding on bankruptcy clerk’s ofﬁce within the deadline speciﬁed in this notice. (See line 11 below for more


           CHICO,
                                                                        March 6, 2019                                     the 20th of February 2019 at 10:00am information.)
                                                                                                                                                                                   To protect your rights, consult an attorney. All documents ﬁled in the cases may be inspected
                                                                        LAST DAY TO FILE CLAIMS                           (Registration starts at 9:30am), on at the                   bankruptcy clerk’s ofﬁce at the address below or through PACER (Public Access to Court
                                                                        March 5, 2019                                     the premises where said property Electronic Records at www.pacer.gov).


          ORLAND             &
                                                                                                                          has been stored and which are notice with                The  staff of the bankruptcy clerk’s ofﬁce cannot give legal advice. Do not ﬁle this
                                                                                                                                                                                              any proof of claim or other ﬁling in the cases.
                                                                        Notice is hereby given that Transfer- located at CHICO U LOCK IT SELF
           Routes available in                                                                                                                                                     1. Debtors’ full names: Debtor, Address, Case No., EIN#: PG&E Corporation, 77 Beale
                                                                        or intends to make a BULK SALE of STORAGE 1909 Dr. Martin Luther King Street, P.O. Box 77000, San Francisco, California 94177, 19-30088 (DM), XX-XXXXXXX; Paciﬁc
                                                                        the assets of the above described Jr. Parkway, Chico, CA 95928, Butte Gas                                    and Electric Company, 77 Beale Street, P.O. Box 77000, San Francisco, California 94177,
                CHICO
          OROVILLE
                                                                                                                                                                                19-30089 (DM), XX-XXXXXXX.
                                                                        Business to Transferee including all County State of California, the                                       2. All other names used in the last 8 years: n/a

               PARADISE                                                 stock in trade, furniture and equip- following.
                                                                        ment used in the said Business, to be
                                                                                                                                                                                   3. Address: See above
                                                                                                                                                                                   4. Debtors’ Attorneys: Tobias S. Keller (#151445), KELLER & BENvENUTTi LLP, 650
                                                                                                                                                                                California Street, Suite 1900, San Francisco, CA 94108 -and- Stephen Karotkin (pro hac vice),
                       & ORLAND                                         consummated at the office of Escrow Audrey                      Pacheco       #194; Hutch, WEiL, GOTSHAL & MANGES LLP, 767 Fifth Avenue, New York, NY 10153. Debtors’ Claims and

           Call Janette                                                 Holder at the time of consummation landscaping tools, shelving, plastic Noticing                                   Agent: If you have questions about this notice, please contact Prime Clerk LLC.
                                                                                                                                                                                Contact Phone: (844) 339-4217 (Toll Free), +1 (929) 333-8977 (Int’l). Email: pgeinfo@
                                                                        or thereafter. Creditors of the Trans- bins, boxes                                                      primeclerk.com. Website: https://restructuring.primeclerk.com/pge
                                                                        feror may file claims with the Escrow
            896-7710
                                                                                                                                                                                   5. Bankruptcy clerk’s ofﬁce: U.S. Bankruptcy Court, 450 Golden Gate Avenue, Mail
                                                                        Holder on or before the last day to Shane Wilson #246; Golf club sets, Box                                   36099, San Francisco, CA 94102. Hours open: Monday-Friday, 9 a.m.- 4:30 p.m. (CT).
                                                                                                                                                                                Contact phone: 888-821-7606. Documents in these cases may be ﬁled at this address. You
                                                                        file claims stated above. This sale is couch, fan, plastic bins, boxes
                 or
                                                                                                                                                                                may inspect all records ﬁled in these cases at this ofﬁce or online at www.pacer.com.
                                                                        subject to Sec. 6106 - 6107 of the Cali-                                                                   6. Meeting of creditors: Date and Time: Monday March 4, 2019 at 10:00 a.m. Loca-
                                                                                                                                                                                tion: Phillip Burton Federal Building and U.S. Courthouse, 450 Golden Gate Avenue, 2nd Floor,
                                                                        fornia Commercial Code.                           Michael Lockett #608; Vintage tools, California
             Rachel
                                                                                                                                                                                            Conference Room, San Francisco, CA 94102. The debtors’ representative must
                                                                        Transferor has used the following bed frame, dresser, plastic bins, boxes                               attend the meeting to be questioned under oath. Creditors may attend, but are not required
                                                                        business names and addresses with-                                                                      to do so.   The meeting may be continued or adjourned to a later date. if so, the date will be

            521-7954
                                                                                                                                                                                on the court docket.
                                                                        in last three years so far as known to Corey Guathney #610; Skiis, dresser,                                7. Proof of claim deadline: Deadline for ﬁling proof of claim: To Be Determined. A
                                                                        Transferee: (If NONE, so state): NONE lawn care equipment, plastic bins, proof of claim is a signed statement describing a creditor’s claim. A proof of claim form may
                                                                                                                                                                                be obtained at www.uscourts.gov or any bankruptcy clerk’s ofﬁce. Your claim will be allowed
                                                                                                                          boxes                                                 in the amount scheduled unless: • your claim is designated as disputed, contingent, or
                                                                        Heel & Sole Shoes, a General Partnership,                                                               unliquidated; • you file a proof of claim in a different amount; or • you receive another
                                                                        Dated: February 8, 2019                           Lorin Downing #637; Artificial plant, notice. if your claim is not scheduled or if your claim is designated as disputed, contingent,
                                                                                                                                                                                or unliquidated, you must ﬁle a proof of claim or you might not be paid on your claim and you
                                                                                                                          mattresses, plastic bins                              might be unable to vote on a plan. You may ﬁle a proof of claim even if your claim is scheduled.
                                                                        /s/ Adriana Covarrubias                                                                                 You may review the schedules at the bankruptcy clerk’s ofﬁce or online at www.pacer.gov.
                                                                        BY: Adriana Covarrubias, General Partner Auctioneer is Jack Harbor, Chico claim.                        Secured creditors retain rights in their collateral regardless of whether they ﬁle a proof of
                                                                                                                                                                                       Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with
                                                                        /s/ Gloria Covarrubias                            Auction Gallery (Bond #70981317), consequences a lawyer can explain. For example, a secured creditor who ﬁles a proof of claim
                                                                        BY: Gloria Covarrubias, General Partner 530-345-0431                                                    may surrender important nonmonetary rights, including the right to a jury trial.
                                                                                                                                                                                   8. Exception to discharge deadline: You must start a judicial proceeding by ﬁling a
                                                                        2/14/2019                                         2/14/2019, 2/18/2019                                  complaint if you want to have a debt excepted from discharge under 11 U.S.C. § 1141(d)(6)
                                                                                                                                                                                                                                                           (A). The bankruptcy clerk’s ofﬁce must receive a complaint and any required ﬁling fee by the
PEANUTS                                                                                                                                                                                                                                                    following deadline. Deadline for ﬁling the complaint: To Be Determined
                                                                                                                                                                                                                                                               9. Creditors with a foreign address: if you are a creditor receiving notice mailed to a
                                                                                                                                                                                                                                                           foreign address, you may ﬁle a motion asking the court to extend the deadlines in this notice.
                                                                                                                                                                                                                                                           Consult an attorney familiar with United States bankruptcy law if you have any questions
                                                                                                                                                                                                                                                           about your rights in these cases.
                                                                                                                                                                                                                                                               10. Filing a Chapter 11 bankruptcy case: Chapter 11 allows debtors to reorganize or
                                                                                                                                                                                                                                                           liquidate according to a plan. A plan is not effective unless the court conﬁrms it. You may
                                                                                                                                                                                                                                                           receive a copy of the plan and a disclosure statement telling you about the plan, and you may
                                                                                                                                                                                                                                                           have the opportunity to vote on the plan. You will receive notice of the date of the conﬁrmation
                                                                                                                                                                                                                                                           hearing, and you may object to conﬁrmation of the plan and attend the conﬁrmation hearing.
                                                                                                                                                                                                                                                           Unless a trustee is serving, the debtors will remain in possession of the property and may
                                                                                                                                                                                                                                                           continue to operate their business.
                                                                                                                                                                                                                                                               11. Discharge of debts: Conﬁrmation of a chapter 11 plan may result in a discharge of
                                                                                                                                                                                                                                                           debts, which may include all or part of your debt. See 11 U.S.C. § 1141(d). A discharge means
                                                                                                                                                                                                                                                           that creditors may never try to collect the debt from the debtors except as provided in the plan.
                                                                                                                                                                                                                                                           if you want to have a particular debt owed to you excepted from the discharge under 11 U.S.C.
                                                                                                                                                                                                                                                           § 1141(d)(6)(A), you must start a judicial proceeding by ﬁling a complaint and paying the ﬁling
                                                                                                                                                                                                                                                           fee in the bankruptcy clerk’s ofﬁce by the deadline.


                                                Case: 19-30088                        Doc# 522-4                                                                                 Filed: 02/20/19                                    Entered: 02/20/19 18:38:39                  Page 3
                                                                                                                                                                                          of 9
                                  Exhibit H




Case: 19-30088   Doc# 522-4   Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 4
                                       of 9
Case: 19-30088   Doc# 522-4   Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 5
                                       of 9
THURSDAY FEBRUARY 14 2019                                                                                                                                                                                                       THE SACRAMENTO BEE..............................................................................       7B



                                                                                                                                                                                                                                                                                               SELLYOUR
                                                                                                                                                                                                                                                                                              STUFFFAST!

          Classiﬁed                                                                                                                                                        FIND. BUY. SELL.
                                                                                                                                                                                                                                                                                                     800.876.8700
                                                                                                                                                                                                                                                                                                     916.321.1234
                                                                                                                                                                                                                                                                                                     sacbee.com/
                                                                                                                                                                                           sacbee.com/classiﬁeds                                                                                     placeanad


Stuff
                                             NO 719 PUBLIC NOTICE                                                NO 720 PUBLIC NOTICE                                            NO 731 PUBLIC NOTICE                           NO 789 PUBLIC NOTICE
                                                REQUEST FOR QUALIFICATIONS                                                   REQUEST FOR                                         NOTICE OF PETITION TO ADMINIS-                  WCG Conferences LLC, 212 Carne-
                                                     AND PROPOSALS FOR                                              STATEMENTS OF QUALIFICATION                                  TER ESTATE OF BORUE H. O’BRIEN                  gie Center, Suite 301, Princeton, NJ
                                               On-Call Estimating Services and                                           Turlock Library Project                                 CASE NO. SPR 0009516                            08540 is doing business under the
                                                REQUEST FOR QUALIFICATIONS                                       Notice is hereby given that Stani-                              To all heirs, beneficiaries, creditors,               fictitious business name,                                    Apartments, Duplexes &
                                                     AND PROPOSALS FOR                                           slaus County will receive statements                            contingent creditors, and persons                (a) First Clinical Research and (b)
                                                 On-Call Code Review Services                                    of qualification from Design-Build                              who may otherwise be interested in                MAGI. Same address as above.                                         Condominiums
                                                REQUEST FOR QUALIFICATIONS                                       teams for the Turlock Public Library                            the will, or estate or both, of: BORUE              Filed in Sacramento County
                                                     AND PROPOSALS FOR                                           Project (“Project”) at 550 N. Minaret                           H. O’BRIEN. A Petition for Probate                       #FBNF2019-01008
 Antiques                         3050         On-Call Civil Engineering Services                                Avenue, Turlock, CA. The Project con-                           has been filed by: Brian B. O’Brien                                                                         Arcade Creek
                                             Notice is hereby given that Stani-                                  sists of design and construction to                             in the Superior Court of California,
                                             slaus County will receive proposals                                 expand and renovate the Turlock                                 County of Placer. The Petition for             NO 790 PUBLIC NOTICE                                      A charming & renovated 2bd, shade trees
    Acquiring - Pilot, Diving, Wrist,        for on-call estimating services, on-                                Branch Library and the work will be                             Probate requests that: Brian B. O’-                                                                      pool, laundry, gas stove. 2900 Marconi
                                             call code review services and on-call                               phased in order to keep the library                             Brien be appointed as personal rep-             P2S ServTech, LLC, 7000 Hollister                        Ave. $1075+ SPECIALS! 916-481-8808
  Pocket, Lecoultre, Rolex, Omega &          civil engineering services for Stani-                               operational throughout the duration                             resentative to administer the estate              Street, Building B, Houston TX
                                             slaus County Capital Projects. The                                  of the Project. Phase I will add ap-                            of the decedent. The petition re-
        Longines. TOP $$$ PAID               Request for Qualifications and Pro-                                 proximately 4,500 square feet onto                              quests the decedent’s will and codi-           77040 is doing business under the                                              Carmichael
                                             posals (RFQ/P) packages may be ob-                                  the south side of the Library. The li-                          cils, if any, be admitted to probate.               fictitious business name,
  CALL ME FIRST!      916-708-7804                                                                                                                                                                                              P2S ServTech Turnaround Services.
                                             tained from Stanislaus County Capi-                                 brary expansion will include a grand                            The will and any codicils are availa-                Same address as above.                                2Bd/1Ba, 3Bd/2Ba - Shelfield Apts.
                                             tal Projects.     Requests for the                                  entryway, a new circulation desk, an                            ble for examination in the file kept               Filed in Sacramento County                                  www.shelfieldcarmichael.com
                                             RFQ/P packages may be directed to                                   open and inviting children’s area, a                            by the court. The Petition requests                                                                         or call leasing office 916-483-7651
                                             Stanislaus County Capital Projects                                  large multi-purpose / community                                 authority to administer the estate                     #FBNF2019-01007
                                             by phone (209) 525-4380 or by fax                                   room, new public restrooms, as well                             under the Independent Administra-                                                                                  µ AVAILABLE NOW! µ
                                             (209) 525-4384. Responses are                                       as enclosed gardens and court-                                  tion of Estates Act. (This authority                                                                      Studio, 2Bd/1Ba Apts. 5804 Engle Rd
                                             due no later than 4:00 PM,                                          yards. In addition, there will be sev-                          will allow the personal representa-            NO 791 PUBLIC NOTICE                                        carmichaelapts.com 916-489-3219
                                             March 15, 2019, to Stanislaus                                       eral opportunities for Design-Build                             tive to take many actions without ob-                                                                    CONDO style 2x2, washer/dryer, ch&a,
                                             County, Attn: Patricia Hill Thomas,                                 Teams to propose a better value de-                             taining court approval. Before tak-              Franklin Monroe Administrative                          patio, dishwasher. MUST SEE!
                                             1010 10th St, Ste 6800, Modesto,                                    sign and include additive alternates                            ing certain very important actions,            Services - WC, LLC / 227 West Mon-                        5325 El Camino Ave 568-1800. $1500
                                             CA 95354.                                                           like core & shell space and further                             however, the personal representa-                 roe St., Suite 4800 Chicago, IL
                                                                                                                 expansion of the children’s area
                                                                                                                 and multi-purpose room. Phase II
                                                                                                                                                                                 tive will be required to give notice to
                                                                                                                                                                                 interested persons unless they have
                                                                                                                                                                                                                                      (Incorporated in Delaware)
                                                                                                                                                                                                                                        is doing business under                            LOVELY LARGE 1BD                        $975
            ALWAYS BUYING                                                                                                                                                                                                           the fictitious business name,                         downstairs unit. Gated(916) 487-3131
                                                                                                                 will be the renovation of the existing                          waived notice or consented to the                                                                        www.walnutavenueapartments.com
  Antiques & Old Signs. Most cash paid.                                                                          10,000 square foot Library to bring                             proposed action.) The independent               (a) Franklin Monroe - West Coast ,
          (916) 544-0322 24 -7                                                                                   the building up to code and optimize                            administration authority will be               (b) Franklin Monroe West Coast and
                                                                                                                 the existing structure for important                            granted unless an interested person                       (c) Franklin Monroe.                                                  Fair Oaks
 WANTED: Railroad items , porcelain                                                                              collections, a new teen space as                                files an objection to the petition and                 Same Address as above.
 signs, bottles, old toys 916-663-2463                                                                           well as administration needs. The                               shows good cause why the court                      Filed in Sacramento County                           A+ Renovated 2bd, CH&A, Patio,

 Business/Office Equipment        3200
                                              Did this ad catch your eye?                                        Request for Statements of Qualifica-
                                                                                                                 tion (RFSOQ) Packages may be ob-
                                                                                                                                                                                 should not grant the authority. A
                                                                                                                                                                                 hearing on the petition will be held
                                                                                                                                                                                                                                           #FBNF2019-01009                                Beautiful! 4900 Stamas Lane
                                                                                                                                                                                                                                                                                          $1,295MO 916-965-9117
                                         You can  easily add this, or hundreds
                                                                                                                 tained from Stanislaus County Capi-                             in this court as follows: 3-8-19 at
                                                                                                                 tal Projects free of charge, at 1010                            8:30 a.m. in Dept. 40, located at
                                                                                                                 10th St., Ste. 2300, Modesto, CA                                10820 Justice Center Drive,                                                                                                      Rocklin
LIB E RT Y safe, 5x3, ex. cond, original
owner, $850 obo 916-363-8974             of other eye catching graphics, to                                      95354. Requests for the RFSOQ
                                                                                                                 Packages may be directed by phone
                                                                                                                                                                                 Roseville, CA 95678. If you object
                                                                                                                                                                                 to the granting of the petition, you
 Lawn, Pool, Spas               3500     your classified ad. Studies show ads                                    209-525-4380 or by fax 209-525-
                                                                                                                 4384 or e-mail to vandrvnt@stanco
                                                                                                                                                                                 should appear at the hearing and
                                                                                                                                                                                 state your objections or file written
                                                                                                                                                                                                                                                                                           BEAUTIFUL 2&3 Bd Duplex es . 2car
                                                                                                                                                                                                                                                                                           garages, frplcs, w/d hookups, prvt fncd

                                         that stand out, get better results.
                                                                                                                                                                                                                                                                                           backyrd, quiet & clean. 916-624-0404
                                                                                                                 unty.com. Statements of Qualifica-                              objections with the court before the

                                                                                                                                                                                                                                                                                                           Share
PATIO table with 6 chairs & card table                                                                           tion are due no later than 2:00 PM,                             hearing. Your appearance may be in
4 chairs, like new, Both $200. OBO.
916-983-3032                             Make your advertising investment                                        March 26, 2019, to Stanislaus
                                                                                                                 County Chief Executive Office.
                                                                                                                                                                                 person or by your attorney. If you
                                                                                                                                                                                 are a creditor or a contingent cred-

 Wanted to Buy                  3700
                                              pay off! Call BEE Classified                                                                                                       itor of the decedent, you must file
                                                                                                                                                                                 your claim with the court and mail a
                                                                                                                                                                                                                                Help Wanted                                  1601

                                                      (916)321-1234
                                                                                                                                                                                 copy to the personal representative           APARTMENT
                                                                                                                                                                                 appointed by the court within the lat-
FREON Wanted: Certified professional
pays CA$H for R12. 312-291-9169,                Toll free (800)876-8700                                             SACRAMENTO BEE CLASSIFIED                                    er of either (1) four months from the
                                                                                                                                                                                 date of first issuance of letters to a
                                                                                                                                                                                                                                 MAINTENANCETECHNICIAN
                                                                                                                                                                                                                               Experience in apt. turnover, plumbing,
RefrigerantFinders.com
                                                                                                                           Gets Results!                                         general personal representative, as           electrical, carpentry, drywall and gener-
                                                 sacbee.com/classads                                             (916) 321-1234 or (800) 876-8700
                                                                                                                    www.sacbee.com/classads
                                                                                                                                                                                 defined in section 58(b) of the Cali-
                                                                                                                                                                                 fornia Probate Code, or (2) 60 days
                                                                                                                                                                                 from the date of mailing or personal
                                                                                                                                                                                                                               al maintenance. HVAC a plus. Must
                                                                                                                                                                                                                               have own hand tools. Background
                                                                                                                                                                                                                                                                                                                 Antelope
 Woodstoves & Firewood            3750                                                                                                                                                                                         check required. Salary plus benefits.
                                                                                                                                                                                 delivery to you of a notice under sec-        Qualified candidates fax resume: 916-                      5/2, Rooms to rent nr Sac City, shops,
                                                                                                                                                                                 tion 9052 of the California Probate           723-3081 or email: sarahwoolf@comca                        bus. $500+$200dep. Shared util, no
        BEAVERS FIREWOOD                     NO 244 PUBLIC NOTICE                                                                                                                Code. Other California statues and            st.net                                                     credit @. Couples ok! (916) 613-4734
     Great Almond Special cut 16"                                                                                                                                                legal authority may affect your rights
        û 925-435-5505 û                                                              NOTICE TO CONTRACTORS                                                                      as a creditor. You may want to con-                                                                                               Arden
 CASTILLO’S BEST BUY accept C.C.             NOTICE IS HEREBY GIVEN that bids are being solicited by the County of Placer
                                                                                                                                                                                 sult with an attorney knowledgeable
                                                                                                                                                                                 in California law. You may examine
                                                                                                                                                                                                                                    APARTMENT PORTER
 Seasoned split almond. Free Delivery        (the “County”) to furnish all labor, materials, equipment, tools, tax, and services                                                                                                     No Experience Necessary.
  Between 16" - 18" . 209-394-8787                                                                                                                                               the file kept by the court. If you are             Background check required.                            BDRM $550/mo. or Master $750/mo.
                                             necessary for the PLACER COUNTY AUBURN JAIL RETROFIT, BID NO.                                                                       a person interested in the estate,
                                             100132, PROJECT NO. PJ00108 (the “Work”).                                                                                                                                                   Salary plus benefits.                            All util paid. $350 dep. 916-643-5467
                                                                                                                                                                                 you may file with the court a formal             Qualified candidates fax resume:
 Misc. Merchandise                3800                                                                                                                                           Request for Special Notice (FORM                   916-723-3081 or email to:
                                             The Work consists generally of the following: Retrofit of four existing Housing                                                     DE-154) of the filing of an inventory
                                             Units located in the Auburn Jail work includes but is not limited to site improve-                                                  and appraisal of estate assets or of
                                                                                                                                                                                                                                     sarahwoolf@comcast.net                                                      Elk Grove
E D BAuer Expd. Jacket, good cond.           ments; add exterior door and chain link sally port, new concrete walkway to con-
$385. 916-600-3122                                                                                                                                                               any petition or account as provided
                                             nect to existing dock area paving, add security fencing and gate; painting of ex-                                                                                                                                                            Room EG area with house priv $600,
ELIMINATE RATS & MICE-                       terior Housing Unit and Recreation Yard. Housing units; existing women’s and
                                                                                                                                                                                 in Probate Code §1250. A Request
                                                                                                                                                                                 for Special Notice form is available          AsstistantMgr & Leasing Consultant                          $625, master bdrm $775. All util, ca-
GUARANTEED! Buy Harris Baits, Traps,         men’s restrooms (main floor and mezzanine) will be renovated and brought up                                                         from the court clerk. FILED: JANU-            Needed for owner managed properties                         ble, internet included 916-261-9875
                                             to current accessibility code standards. Construct an enclosure around the offi-                                                    ARY 31, 2019 Kenneth R. Cyphers,              in Sac area. Experience in property
Repellents                                   cer stations separating it from the dayrooms, security glazing and mesh to sur-                                                                                                   management req’d. One-Site / Realpage
Available: Hardware Stores                                                                                                                                                       Anderson Zeigler, 50 Old Court-
                                             round the stations. Wash stations in the dayrooms will be replaced with new;                                                        house Square, Fifth Floor Santa Ro-           knowledge a plus. Background check
Online: homedepot.com 800-637-0317           new floor finishes to be installed in dayrooms, officers stations and dormito-                                                                                                    req’d. Salary + benefits. Qualified candi-
                                                                                                                                                                                 sa, CA 95404 TELEPHONE NO.:
                                             ries. Walls in dayrooms and dormitories for each pod are to be painted. New                                                         707-545-4910 Attorney for Petition-           dates fax resume to 916-723-3081 or
 Happy Ads                          210      bunks, dayroom seating and refurbish dayroom tables. All improvements com-                                                          er                                            email to: sarahwoolf@comcast.net
                                             plete including, but not limited to, interior finishes, mechanical, plumbing and
TO my dearest Bear You are back on
                                             electrical.                                                                                                                                                                         WAREHOUSE / CDL DRIVER
track and I couldn’t be happier. Always
know, whatever we face we’ll conquer it
                                             The County has estimated the cost of the Work to be Three Million One Hun-
                                             dred Twenty Six Thousand Six Hundred and Twenty Six Dollars
                                                                                                                                                                                 NO 799 PUBLIC NOTICE                                 û JOB FAIR û
together. You and I...together...forever.    ($3,126,626.00).                                                                                                                         NOTICE INVITING PROPOSAL                 1101 Sunset Blvd µ Rocklin 95765                              Automobiles                            8025
I love you so very much! Love, your                                                                                                                                              The Folsom Cordova Unified School
Sweets                                       Bids must be received by the County at the Office of Procurement Services,                                                          District (“District”) invites proposals            SAT 2/16 µ 9-11 AM                                    2 0 0 4 Hyundia Accent, clean title,
                                             2964 Richardson Drive, Auburn, CA 95603, (530) 886-2122 prior to 11:00:00                                                           from contractors for a lease-                       Stockers - Reach Lift Exp.                           smog, ac, at, ps, clean gas saver de-
                                             am on February 25, 2019. Bids will be opened immediately after 11:00:00                                                             leaseback contract for the following                Selectors - EPJ Exp. & RF                            pendable trans $1595 916-912-3788
 Lost                               230      am on said date.                                                                                                                    project:                                         Fast Pace, Lifting 60 lbs FT/PT
                                                                                                                                                                                 Sutter Middle School – Phase 3                  Apply: UNFI.com      Search Rocklin                       CHRYSLER 300 2006 Exc. Cond.,
                                             Official copies of the Contract Documents for bidding may be downloaded                                                             Copies of the Request for Proposals                          Jobs. EOE                                    109,000mi. $5500 Ken 916-899-5669
REWARD FOR LOST CELL Lost at Sac             free of charge at the following link: http://www.placer.ca.gov/departments                                                          (“RFP”) for the project will contain
Community Center Theater, Sunday 2/          /adm in/procurem ent/openbids; Alternatively, these documents may be pur-                                                           further details for the scope of work
3. Older Samsung with LA Dodgers blue                                                                                                                                                                                                                                                     HONDA CR-V 2015 EX Gray/ Tan
                                             chased in person at the Office of Procurement Services, 2964 Richardson                                                             for the project and may be obtained                                                                      automatic, clear title, first owner,
case. BIG REWARD. Has irreplaceable          Drive, Auburn, CA 95603, (530) 886-2122.                                                                                            by contacting Sheryl Cosetti, at scos
photos. NO QUESTIONS. Call                                                                                                                                                       etti@fcusd.org or on the District web-                                                                   32731 miles $9,800 424-263-9556
530.622.4222. Wkjkck@msn.com 530-            The successful bidder must possessat all times a valid Class B General Build-                                                       site at: https://www.fcusd.org/Page                                                                      T OYO T A Cressida Sedan 1987 153K
622-4222                                     ing Contractor’s License issued by the State of California.                                                                         /26297.                                                                                                  Smogged $3000 obo 916-467-7078
                                                                                                                                                                                 All proposers are required to read
                                             The Work is subject to the payment of not less than prevailing wages under Cali-                                                    and completely familiarize them-
 Personals                          240      fornia Labor Code Section 1770 et seq. The work is subject to compliance mon-                                                       selves with the terms and condi-                                                                            Autos-Classic & Sports                 8300
                                             itoring and enforcement by the Department of Industrial Relations. No contrac-                                                      tions of the RFP, and to submit all
   !HAPPY Valentines Day Kiddo!              tor or subcontractor may be awarded a contract for public work on a public                                                          necessary paperwork required of                                                                          1 9 3 1 Model A Ford Coup, good cond,
          !Love! Marts                       works project awarded on or after April 1, 2015 unless registered with the De-                                                      proposers as specified in the RFP.             Misc. Employment                            1801
                                                                                                                                                                                                                                                                                          2 owners, Best Offer. 408-893-2445
                                             partment of Industrial relations pursuant to Labor Code section 1725.5. Addi-                                                       The District reserves the right to
LOOKING for nice green
tomatoes 208-221-4407
                                             tional information regarding prevailing wage and CMU requirements is availa-
                                             ble upon request from the Placer County Department of Facility Services, and
                                                                                                                                                                                 postpone the opening of proposals,
                                                                                                                                                                                 accept or reject any and all propos-
                                                                                                                                                                                                                               CARE GIVER, IHSS, dependable, Arden
                                                                                                                                                                                                                               Fair area, must have car/lic. 916-927-7494                   MUSTANGS & FORDS WANTED
                                             at http://www.dir.ca.gov/dlsr/DPreWageDetermination.htmand https://www.d                                                                                                                                                                       1960-1980. Any cond. 916-247-5287
                                                                                                                                                                                 als, and to waive any informality in
 Misc. Announcements               275       ir.ca.gov/dlse/cmu/cmu.html.                                                                                                        any proposal, all as the District
                                                                                                                                                                                 deems to be in its own best inter-             Positions Wanted                            1825             Auto Parts & Service                   8400
                                             Pursuant to Public Contract Code section 22300, the successful bidder may                                                           ests.
   PRESIDENT’S DAY DEADLINES                 substitute securities for any monies withheld by the County to insure perform-                                                      This project is a public works project        CAREGIVER Live in/out light house                           ENGINES/ Cyl heads. Reman & used.
 The following will be observed, and         ance of the Work.                                                                                                                   and is subject to prevailing wage re-         keeping, light cooking,, bathing,                           foreign & domest., gas/dsl. Install avail
 some departments will be closed                                                                                                                                                 quirements.        The       successful       transport to appts.CNA. 916-501-3159                        O’Donnell Truck & Eng Repair 924-3411
 Monday 2/18/19.                             Questions regarding the Work or the Bid Documents should be submitted on-                                                           proposer, and each of its subcon-
 GENERAL CLASSIFIEDS:                        line in Public Purchase.                                                                                                            tractors, shall be required to comply
    Pub. 2/19 – Deadline 2/15 5:30p.                                                                                                                                             with all local, state, and federal laws                                                                     Misc. Automotive                       8800
 OBITUARIES:                                                                                                                                                                     and regulations. Wage rates can be
       Pub. 2/19 – Deadline 2/15 4p.                                                                                                                                             obtained from the District by re-
                                                                        United States Bankruptcy Court for the Northern District of California                                   quest. All proposers, and all subcon-
                                            Debtors: PG&E Corporation and Paciﬁc Gas and Electric Company                                                                                                                                                                                        ALL CONSIGNMENTS WANTED
                                                                                                                                                                                 tractors listed in any proposal, must                                                                            Toscano RV 209-826-2488


 Notices
                                            Datecasesﬁledinchapter11: 01/29/2019                                                                                                 be registered with the California De-
                                            Casenumber: 19-30088(DM)(LeadCase;JointlyAdministered)                                                                               partment of Industrial Relations (“DI-                                                                            Best Service Department
                                                                                                                                                                                 R”) pursuant to California Labor                                                                                 Huge Discounts on new RV’s
                                            Notice of Chapter 11 Bankruptcy Cases
                                                For the debtors listed above,cases have been ﬁled under chapter 11 of the Bankruptcy Code and orders for relief have been        Code section 1725.5. The project is



                                                                                                                                                                                                                                                                                             Garage Sales  Share
                                            entered.Thisnoticehasimportantinformation aboutthecasesforcreditors,debtors,and trustees,including informationabout                  subject to compliance monitoring               Business Opportunities                        450
                                            themeetingofcreditorsanddeadlines.                                                                                                   and enforcement by the DIR.
                                                The ﬁling of the cases imposed an automatic stay against most collection activities.This means that creditors generally may      Firms submitting a proposal must
                                                                                                                                                                                 be prequalified pursuant to Educa-            REAL Estate Home Inspections.
                                            not take action to collect debts from the debtors or the debtors’ property. For example, while the stay is in effect, creditors                                                    Owner, 76 retiring after 27yrs. Estab-
                                            cannot sue, assert a deﬁciency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand            tion Code section 17406 and Public
                                                                                                                                                                                 Contract Code section 20111.6.                lished areas available. $43K. Contact:
                                            repayment from the debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
 Legal Notices                      301     punitivedamagesandattorney’sfees.                                                                                                    Prequalification takes place in ad-           bdghowe@aol.com.
                                                Conﬁrmation of a chapter 11 plan may result in a discharge of debt.A creditor who wants to have a particular debt excepted       vance of submitting a proposal, and
                                            from discharge may be required to ﬁle a complaint in the bankruptcy clerk’s ofﬁce within the deadline speciﬁed in this notice.       the prequalification process can be
 NO 645 PUBLIC NOTICE                       (Seeline11belowformoreinformation.)                                                                                                  found at: https://www.fcusd.org/Pa
                                                                                                                                                                                 ge/25933.
           Order To Show Cause
                                                To protect your rights,consult an attorney.All documents ﬁled in the cases may be inspected at the bankruptcy clerk’s ofﬁce      The deadline for submitting propos-                                                                                         El Dorado Hills
                                            attheaddressbeloworthroughPACER(PublicAccesstoCourtElectronicRecordsatwww.pacer.gov).                                                als shall be 4:00 p.m. on March 1,
           For Change of Name.                  The staff of the bankruptcy clerk’s ofﬁce cannot give legal advice. Do not ﬁle this notice with any proof of
      Case No. 34-2018-00243280                                                                                                                                                  2019.                                                                                                     El Dorado Hills Estate Sale Thu-Sun 9-3
                                            claimorotherﬁlinginthecases.                                                                                                                                                                                                                   û 600 Torero Way û Furn, China, Tools,
       Superior Court of California,            1. Debtors’ full names: Debtor, Address, Case No., EIN#: PG&E Corporation, 77 Beale Street, P.O. Box 77000, San
          County of Sacramento                                                                                                                                                                                                                                                              Bdrm sets, Vintage items, Near new sofa
     TO ALL INTERESTED PERSONS:             Francisco, California 94177, 19-30088 (DM), XX-XXXXXXX; Paciﬁc Gas and Electric Company, 77 Beale Street, P.O. Box 77000,                                                                                                                      set & MORE!www.estatesaless.com
  PRABH JOT has filed a petition with       San Francisco,California 94177,19-30089 (DM),XX-XXXXXXX.                                                                             Fictitious Name                     325
                                                2. All other names used in the last 8 years: n/a
     this court for a decree changing
                                                3. Address: See above                                                                                                                                                                           Citrus Heights                               Tickets                                 525
             name as follows:
     PRABH JOT to PRABH JOT SAINI               4. Debtors’ Attorneys: Tobias S. Keller (#151445), KELLER & BENvENUTTi LLP, 650 California Street, Suite 1900, San                    NO 509 PUBLIC NOTICE
    THE COURT ORDERS that all per-          Francisco, CA 94108 -and- Stephen Karotkin (pro hac vice), WEiL, GOTSHAL & MANGES LLP, 767 Fifth Avenue, New York, NY                Dennis Klocek, 6603 Lincoln Ave.,             M OBILE Home 2/2 central air & heat,
                                                                                                                                                                                                                               $10K in upgrades, 55 or older park,                        SAC Kings Seasn Tickets On a waiting
    sons interested in this matter ap-      10153. Debtors’ Claims and Noticing Agent: If you have questions about this notice, please contact Prime Clerk                       Carmichael, CA 95608 is doing
                                            LLC. Contact Phone: (844) 339-4217 (Toll Free), +1 (929) 333-8977 (Int’l). Email: pgeinfo@primeclerk.com.                                                                          1000sqft, $49,900. 916-725-1900.                           list? Take over our existing contract thru
  pear before this court at the hearing                                                                                                                                          business under the Fictitious                                                                            2021. PREMIUM Seats 15& 16 Club
    indicated below to show cause, if       Website: https://restructuring.primeclerk.com/pge                                                                                    Business Name of New Alchemy,
                                                5. Bankruptcy clerk’s ofﬁce: U.S. Bankruptcy Court, 450 Golden Gate Avenue, Mail Box 36099, San Francisco, CA                                                                                                                             Level. $29,240 2019-2020.
   any, why the petition for change of                                                                                                                                           same address as above.                                                                                   $30444.00 2020 -2021
    name should not be granted. Any         94102.Hours open:Monday-Friday, 9 a.m.- 4:30 p.m.(CT).Contact phone:888-821-7606.Documents in these cases may
      person objecting to the name          be ﬁled at this address.You may inspect all records ﬁled in these cases at this ofﬁce or online at www.pacer.com.                    County of Sacramento                                                                                     Bschefler@sbcgl9bal.net 530-823-
   changes described above must file            6. Meeting of creditors: Date and Time: Monday March 4, 2019 at 10:00 a.m. Location: Phillip Burton Federal                      Filed on January 22, 2019                                                                                1011
  a written objection that includes the     Building and U.S.Courthouse, 450 Golden Gate Avenue, 2nd Floor, California Conference Room, San Francisco, CA 94102.The              FBNF2019-00673
                                                                                                                                                                                                                                                                                                            Sell It Fast
                                                                                                                                                                                                                                          Homes
    reasons for the objection at least      debtors’representative must attend the meeting to be questioned under oath.Creditors may attend, but are not required to
  two court days before the matter is       do so. The meeting may be continued or adjourned to a later date.if so,the date will be on the court docket.
    scheduled to be heard and must
      appear at the hearing to show
    cause why the petition should not
                                                7. Proof of claim deadline: Deadline for ﬁling proof of claim: To Be Determined. A proof of claim is a signed
                                            statement describing a creditor’s claim. A proof of claim form may be obtained at www.uscourts.gov or any bankruptcy
                                            clerk’s ofﬁce.Your claim will be allowed in the amount scheduled unless: • your claim is designated as disputed, contingent,
                                                                                                                                                                                 NO 724 PUBLIC NOTICE                                                                                                    Make some Cash
  be granted. If no written objection is
  timely filed, the court may grant the
                                            or unliquidated; • you ﬁle a proof of claim in a different amount;or • you receive another notice.If your claim is not scheduled
                                            or if your claim is designated as disputed,contingent,or unliquidated,you must ﬁle a proof of claim or you might not be paid
                                                                                                                                                                                       Sacred Oak Corporation
                                                                                                                                                                                   7816 Uplands Way Ste. B. Citrus
                                                                                                                                                                                                                                         Land Park & Curtis Park
                                                                                                                                                                                                                                                                                                         BEE CLASSIFIED
        petition without a hearing.
       NOTICE OF HEARING DATE:
                                            on your claim and you might be unable to vote on a plan.You may ﬁle a proof of claim even if your claim is scheduled.You
                                            may review the schedules at the bankruptcy clerk’s ofﬁce or online at www.pacer.gov.Secured creditors retain rights in their
                                                                                                                                                                                   Heights, CA 95610 is doing busi-
                                                                                                                                                                                   ness under the fictitious business
                                                                                                                                                                                     name, CA Collective Choice
                                                                                                                                                                                                                               GREENHAVEN-POCKET DUPLEX
                                                                                                                                                                                                                               2 BR/1 BA $1350 water & garbage incl.                                      (916) 321-1234
                                                                                                                                                                                                                                                                                                         (800) 876-8700
        March 14, 2019, 9:00AM              collateral regardless of whether they ﬁle a proof of claim. Filing a proof of claim submits a creditor to the jurisdiction of the                                                  Big backyard. Nice area . 916-216-2523
       Superior Court of California         bankruptcy court, with consequences a lawyer can explain. For example, a secured creditor who ﬁles a proof of claim may                     1630 Kathleen Ave #1
   813 6th Street, 2nd Floor Dept 54        surrender important nonmonetary rights,including the right to a jury trial.                                                                Sacramento CA 95815.
                                                8. Exception to discharge deadline: You must start a judicial proceeding by ﬁling a complaint if you want to have a
                                            debt excepted from discharge under 11 U.S.C.§ 1141(d)(6)(A).The bankruptcy clerk’s ofﬁce must receive a complaint and any
                                                                                                                                                                                     Filed in Sacramento County
                                                                                                                                                                                         #FBNF2019-00557                       Sacramento Bee Classified 321-1234                                      sacbee.com/classads
 NO 730 PUBLIC NOTICE                       requiredﬁlingfeebythefollowingdeadline. Deadlineforﬁlingthecomplaint:ToBeDetermined
                                                9. Creditors with a foreign address: if you are a creditor receiving notice mailed to a foreign address, you may ﬁle a




                                                                                                                                                                                    NewCar
 "REACH Air Medical Services will un-       motion asking the court to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy
 dergo a site survey from the accred-       law if you have any questions about your rights in these cases.
 iting body, CAM TS, in March 2019,             10. Filing a Chapter 11 bankruptcy case: Chapter 11 allows debtors to reorganize or liquidate according to a plan.A
 according to the 3 year term require-
 ment. CAM TS is the Commission on
                                            plan is not effective unless the court conﬁrms it.You may receive a copy of the plan and a disclosure statement telling you
                                            about the plan,and you may have the opportunity to vote on the plan.You will receive notice of the date of the conﬁrmation                                                                             DEALER
 Accreditation of Medical Transport
 Systems.It is a highly respected enti-
                                            hearing,and you may object to conﬁrmation of the plan and attend the conﬁrmation hearing.Unless a trustee is serving,the
                                            debtors will remain in possession of the property and may continue to operate their business.                                                                                                          DIRECTORY
 ty aspiring to elevate care excel-             11. Discharge of debts: Conﬁrmation of a chapter 11 plan may result in a discharge of debts, which may include all
 lence and zero defect safety initia-       or part of your debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
 tives.                                     debtors except as provided in the plan. if you want to have a particular debt owed to you excepted from the discharge                MERCEDES-BENZ EL DORADO HILLS                      Mercedes-Benz Of Rocklin                                    Mercedes-Benz Of Sacramento
 We are honored to possess CAMTS            under 11 U.S.C. § 1141(d)(6)(A), you must start a judicial proceeding by ﬁling a complaint and paying the ﬁling fee in the            1000 Mercedes Lane µ 916-567-5100            4747 Granite Dr, Rocklin (916)567-4300                       1810 Howe Ave, Sac, CA (916) 924-8000
 accreditation."                            bankruptcy clerk’s ofﬁce by the deadline.                                                                                                     www.mbofedh.come                     mbofrocklin.com - The Nation’s Newest                            www.mbofsacramento.come
                                                                                                                                                                                                                                     Mercedes Benz Dealership




  BestFriends PETS. SUPPLIES. SERVICES.
 Pets                             5010
                                            AMERICAN Eskimo Miniature Puppies
                                            UKC registered! Come with first shots.
                                                                                                                      To advertise call: 916.321.1234 or visit: sacbee.com/placeanad
                                                                                                              CAVALIER King Charles AKC puppies,
                                                                                                              born on Christmas Day, ready for new
                                                                                                                                                     F2B Labradoodle Puppies Your
                                                                                                                                                     Valentine Awaits! These gorgeous F2b,
                                                                                                                                                                                                                               GERMAN Shepherd I am a German
                                                                                                                                                                                                                               Shepherd breeder for over 38 years I
                                                                                                                                                                                                                                                                                           MASTIFF, Brazillian/ Fila Puppies

                                            Ready now. Boys $1200 Girls $1500                                 homes on 2-19-19. M&F, blenheims,      Labradoodles are READY to go home!                                        only breed with a 100% German
                                            Calls only, no text $1,200                                        declaws removed, dewormed, will have   Puppies are 9 wks and have had their                                      bloodline German imports all my
AKC LABS Grand                                                                                                                                                                                                                 Puppies come with AKC papers full
Champion,Champion,Master Hunter             weberwoods@att.net 530-677-1035                                   1st puppy shot and bordetella. Mom is  dewclaws removed, full vet check, and
                                                                                                              12 lbs, dad is 17 lbs & has DNA        first shots. M/F- colors and prices vary-                                 registration breeding rights and
Lines.Dew claws removed.Ready March                                                                                                                                                                                            guarantee on health hips and
8.Black pups $500,yellows                   BORDER Collie Kelpie Cross Border                                 certificate. Good pedigree. Located in 750 & up
                                                                                                              Granite Bay. Come take a look! $2,500  Call us today for more information or                                     temperament and a live time of support.
$700.Reserve now with $200 cash             Collie Kelpie cross puppies from                                                                                                                                                   $1,500 thomassauerhoefer@gmx.de
deposit. 916-407-7331                       working parents. Born December 5th.                               jmt_2150@yahoo.com 916-532-8787        visit us at: facebook.com/
                                                                                                                                                                                                                               530-415-9144                                                Great working family dogs, puppies
                                            Both parents work sheep and cattle. 1st                                                                  GoldCountryLandL                                                                                                                      available April, socialized with livestock,
                                            shots & wormer. Email is the best way                             C H AM PI O N S H IP AKC M, Rot blood- goldcountrylandl@gmail.com 916-607-                                       G E RM AN Shepherd pups, 2 females,                         children, other pets; $600 to $1,000 or
 AKC Pembroke Welsh Corgi                   to contact me. $250                                               lines, Stud service. $1K. 530-315-2457 5839                                                                      1st shots, $200ea 916-708-3888                              trade $600 alexbelanger@gmail.com
 puppies                                    juliewiswell@gmail.com 916-240-4936                                                                                                                                                                                                            907-952-1041
                                                                                                                                                                                                                               LABRADOODLE
                                                                                                              DOODLES & Poodles Poodles and                                     GERMAN SHEPHERD Rescue
                                            BORDER Collie Puppies                                             Doodles                                                           Adoptions 2/16 & 2/23; 11- 2,                                                                             MINI aussies Puppies now available.
                                                 ABCA Registered, 1st vacc.                                   www.silveracepoodles.org 916-715-                                 www.gcgsr.org or call 877-268-0255                                                                        See toy-mini-aussies.com for pictures or
                                              Red/white & Black/white. $500 to                                5334                                                                                                                                                                        call 707-349-4443
                                                           $400.                                                                                                                LABS – CHOC, YLLW, BLK & FOX RED
                                            530-277-6209                                                                                                                         pointing lab pups from a reputable breed-                                                                Poodle small black male 8 weeks,
                                                                                                              GOLDEN Retriever AKC M/F 8 wks old                                 er with too many pups. All pups $400 off in                                                              loveable, $250. 916-363-0950.
 Current shots, vet checked and full        !BOSTON !Terriers black and white -                               Feb 7th. Bred for calm, smarts, long                               Feb. & March. $1100 & up. 10 litters to
 AKC papers. $1,450 Contact: 530-           pure bred AKC’s. Gorgeous. Beautifully                            hlthy lives. 1700.00 Visa/MC Near                                  choose from. Davis, CA pick up. Great         F1b 3F, 3M 1st shots,dewormed, 9
 230-2442                                   marked. Perfect sweetheart for your                               Auburn, CA. Pls see                                                Labs for home and field.                      weeks Parents on site. Leave message                          SHELTIES: BEAUTIFUL BABIES
                                                                                                              www.goldcountrygoldens.com or                                     www.mmkennels.com. 530-598-1527                or text, $850 belyoung4@gmail.com
                                            sweetheart. Reserve your pup now                                                                                                                                                                                                                     Info/pics. 209-824-4545
                                            $1200ea 916-889-2552                                              phone/text 530-333-7001.                                                                                         707-295-8009

                                             Case: 19-30088                                          Doc# 522-4                                Filed: 02/20/19                              Entered: 02/20/19 18:38:39                                           Page 6
                                                                                                                                                        of 9
                                   Exhibit I




Case: 19-30088   Doc# 522-4   Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 7
                                       of 9
Case: 19-30088   Doc# 522-4   Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 8
                                       of 9
THURSDAY FEBRUARY 14 2019                                                                                                                                                                                                                 THE FRESNO BEE ........................................................................................     5B



                                                           Garage/                                       Miscellaneous                                                                 Pets for Sale                                                                                                                             Autos
       Employment                                         Yard Sales                                Merchandise for Sale/Rent
                                                                                                                                                                       LOST MY BIRD
                                                                                                                                                                                                                                                 Recreation                                              2014 Honda CRV LX, 2.4 engine, auto,
                                                                                                                                                                                                                                                                                                         gray, 2 wheel drive, 44K miles , nice
                                                                                                          û I Buy Diabetic Test Strips                                                                                                                                                                   cond, very clean, everything is working,
                                                                                                                                                                                                                                                                                                         $12K. 559-977-0440
     Help Wanted, General                                  N.E. Yard Sales                               Trusted in the Valley for 4 years.
                                                                                                         Most brands.100% Legal. Local
                                                                                                                                                                                                                                              Motorhome, Travel
                                                                                                                                                                                                                                                                                                         ’63 Impala SS, 4 ftd, ex cond, $28,950
                                                                                                         pickup Fresno/Surrounding Call
                                                                                                              Chris 559/248-1424
                                                                                                                                                                                                                                              Trailers & Campers                                         559-930-6900
             COURT REPORTER                        ESTATE Sale 1424 E Stuart Fri/Sat
        MERCED SUPERIOR COURT                      9am Bullard/Millbrook antiques, furn,                                                                                                                                                                                                                 CHEVY MONTE CARLO 2003 Original
               Biweekly Range:                     vintage, household, kitchen, freezer,                                                                                                                                                    $ $ $ CASH CASH CASH $ $ $                                   Owner 140K miles, all power, all re-
           $2,308.80 - $2,808.80                   clocks, art, beds, office, linens, more!                                                                            Friday morning 1/25/2019 at about                                 Motorhomes-Travel Trailers-Trucks-Cars                          cords, runs xlnt, $1,950 559-577-3457
                                                                                                                                                                       10am my Cinnamon Cheeked Conure
      Official application and detailed
      Job flyer can be obtained from:
           Merced Superior Court
                                                                                                                          Pets                                         flew out my back sliding door. She is
                                                                                                                                                                       a small Conure, her name is "Puppy"
                                                                                                                                                                       and she will probably look to land on
                                                                                                                                                                                                                                         Beat Any Price! Top $$$$$ As Easy As
                                                                                                                                                                                                                                         1 2 3 Cash on the Spot 559.790-1582                             WANTED: Toyota 2007-2009, clean.
                                                                                                                                                                                                                                                                                                         559-222-0755
            Administration Office
               627 W. 21st St.
             Merced, CA 95340
                                                       Merchandise                                                                                                     a human. Please don’t be scared! If
                                                                                                                                                                       she lands on you, please call me
                                                                                                                                                                                                                                         RPOD 177 Hood River Edition

             Or from our website                                                                                   Pets for Sale                                       ASAP (559) 326 - 6264 My name is
                                                                                                                                                                       Jessica. She will be hungry and
                                                                                                                                                                                                                                                                                                                PLACE YOUR ADS
            www.mercedcourt.org                                                                                                                                        scared. She really likes apple slices,                                                                                                AT YOUR CONVENIENCE
                                                    FRAUD
     Filing Deadline: Continuous -EOE                                                                                                                                  oranges, and carrot slices. NO
                                                                                                         5 Cute Yellow LAB Females
                                                                                                                                                                                                                                                                                                               24 HOURS A DAY
                                                    ALERT !
                                                                                                                                                                       AVOCADO, NO APPLE SEEDS. I will
                                                                                                       Looking for loving families, $400.                              come get her at any time and
 COURT TECHNOLOGY ANALYST II                                                                            Text Alan 559-268-3387 for pics
           Merced Superior Court                                                                                                                                       anywhere.
            Biweekly Salary Range:                                                                  A.K.C. Boxer Pups 1F, 1M UTD shots,                                Reward of 300.00 for her return.                                  Upgraded axle. New batteries. New
           $2,155.20 - $2,622.40                                                                    dewormed, tails docked, dew claws                                  jmpnjessie@yahoo.com 559-326-6264                                 tires. $13,500 pvwacko@hotmail.com                                  FAX CLASSIFIED ADS TO:
                                                                                                                                                                                                                                                                                                                 559-441-6045
      Official application and detailed             Credit card thieves have called advertisers     removed. $750.00 (559)759-5363                                                                                                       480-639-9464
       job flyer can be obtained from:                                                                                                                                 MASTIFF, Brazillian/ Fila Puppies
                                                    whose phone numbers are on their ads,              AKC Doberman Pincher Puppies                                    Great working family dogs, puppies
            Merced Superior Court
                 Administration                     claiming to be classiﬁed customer service                 7 weeks old. $800.                                       available April, socialized with
                                                                                                             4 Males & 3 Females.                                      livestock, children, other pets; $600
                                                                                                                                                                                                                                                Automotive
              627 W. 21st Street                    representatives and asking for credit card
                                                                                                                Champion lines.                                        to $1,000 or trade $600                                                                                                            Please include: Complete billing name & ad-
              Merced, CA 95340                      information. Customers should not provide
                                                                                                                                                                                                                                                                                                          dress (include street address if P.O. Box is
              Or from our website                                                                              Shots & wormed.                                         alexbelanger@gmail.com 907-952-
                                                    credit card information to someone who                       559-287-0714
             www.mercedcourt.org                                                                                                                                       1041                                                                                                                               used); name of contact person for veriﬁcation;
                                                    calls them about an ad. If you have any con-                                                                                                                                                                                                          phone number for billing; phone number where
      Filing Deadline: Open Until Filled            cerns about the billing for your classiﬁeds     AKC Female Standard Poodle 13
                      EOE                                                                           weeks, shots dewormed ready now                                    SMALL Tea Cup Female Yorkies, AKC,                                                                                                 you can be reached Mon-Fri 8:30 a.m.- 5:00
                                                    ad, please call the Classiﬁed Department at
                                                    559-442-4442.
                                                                                                    sisterdrennan@hotmail.com 559-967-                                 10-16 wks old, all shots, dewormed, no
                                                                                                                                                                       dew claws. $1100 559-904-1661
                                                                                                                                                                                                                                                       Motorcycles                                        p.m. & ad publication dates.
                                                                                                    1279
PART-TIME/FULL-       Work from Home                                                                                                                                                                                                                                                                      Reach us by 1:00 p.m. daily for next day pub-
TIME BOOKKEEPER PERSON NEEDED                                                                       AKC GERMAN SHEPHERD PUPPIES                                        YORKIE toy pups pure bred, CKC, tales                             2008 Kymco Scooter 3000 miles,
                                                                                                                                                                       dews, 1st shot, wormed, vet checked,                              good condition, $1,800 o.b.o                                     lication & by 1:00 p.m. Fri. for Sun., Mon. or
Privately owned Regal Plumbing compa-
ny is seeking a Full Charge Bookkeeper              Fitness/Sporting Equip.                         2M - 4F Vet Ck, 1st shots & wormed
                                                                                                    $800. 559-930-9503                                                 1M/1F. 7 wks $1500. 559.338.2418                                  trbarney@sbcglobal.net 559-283-1493                              Tues. editions.
to perform and administer the compa-                                                                                                                                                                                                                                                                                  All faxed ads will be veriﬁed
ny’s accounting operations. Hours of               EASTON LIONS CLUB Turkey Shoot                   AKC lab pups Blk,choc and yellow.
                                                                                                    Xlnt hunting, field trial and family.                                                                                                                                                                                  prior to publication.
work- 20-25 hours per week. Salary is                 Sunday March 3, 10am to 3pm.                                                                                                                                                            Antique, Classic &
                                                                                                                                                                                     Auctions
$18-$20 / hour. Flexible schedule and                750 E. South Ave. (559) 281-6574               $700-800 Hogbacklabs.com 559-471-
a pleasant work environment.Must                                                                    6343                                                                                                                                     Custom Cars & Parts                                                THANK YOU FOR USING
have a printer & scanner. Interested                                                                AKC Minature Schnauzer Males and
candidate email resume with contact in-                                                                                                                                                                                                                                                                       BEE CLASSIFIED’S FAX LINE
formation to fl6013112@gmail.com                                 Firewood                           Females tails docked dew claws
                                                                                                    removed text 559-280-5379                                          REDUCTION AUCTION | Thurs 2/14 |
                                                                                                                                                                                                                                         LOOKING to buy an Old Foreign Project
                                                                                                                                                                                                                                          Car, in any condition, running or not,
                                                                                                                                                                       630 H St, Fresno, CA 93721 Floor                                     Porsche, Jaguar, Mercedes, Rolls
                                                                                                    AUSTRALIAN Shepherd- Mini & Toy                                    Scrubbers, Deli Slicers, Oven Ranges,                                                                                                For assistance call 559-442-4442
                                                    BEST Hard Mix All split. $110/Cord.             Beautiful puppies. Merles and Tri’s.                                                                                                      Royce, Ferrari & Much More.
      PROGRAMMING AND DATABASE                       Delivery available. 559-647-5534                                                                                  Coffee & Ice Cream Equip, Safes,                                   Fast & Easy Transaction Cash on the
                                                                                                    Double blue eyed. ASDR Reg. $1200-                                 Rotisseries, Deep Fryers & more!                                                                                                         or toll-free 800-877-9886
                     ANALYST                                                                        2000 wildroseminiaussies@gmail.com                                                                                                    spot. If you have any of these or any
            MERCED Superior Court                  NICE PINE WOOD All Split $75/Cord,                                                                                  More info: SAMauctions.com or                                      other Old Foreign Cars Sitting Around
                                                                                                    209-712-2683                                                       877.SAM.AUCT
              Annual Salary Range:                 2 Cords $150. Del Avail 559.727.5937                                                                                                                                                         Please Call 310-614-8012
          $91,894.40 - $111,737.60                                                                  BORDER Collie/Husky Mix, 8.5wks, 4
                                                                                                    M 2 F, shots & worm’d, $200 559-222-
                                                                                                                                                                                                                                                                                                             The Fresno Bee
                                                                                                                                                                                   Farm &
       Official application and detailed           Year End Clearance sale Best hard mix                                                                                                                                                  Place your own ad, 24/7
        job flyer can be obtained from:            all split all dry. $120/cord 630-0609            1002                                                                                                                                                                                                           Classiﬁed Advertising
             Merced Superior Court                                                                                                                                                                                                       at fresnobee.com/placead
                                                                                                    FRENCH Bulldog Puppy 10wks AKC
                  Administration
               627 W. 21st Street
               Merced, CA 95340                         Miscellaneous
                                                                                                    2F, 1M, shots, $800ea 559-346-1334
                                                                                                    davidwhite8865@gmail.com                                                      Equipment                                                                                             PUBLIC NOTICE
               Or from our website
              www.mercedcourt.org
                                                   Merchandise for Sale/Rent                        GERMAN SHEPHERD Males & Fe-
                                                                                                    males, Purebred, 8 weeks, shots &
     Filing Deadline: 4:30pm 02/26/19              CASE backhoe 580 Super L series 2                dewormed, $150 ea. (559) 470-4963                                   Misc. Farm & Equipment                                                                              #4085746
                       EOE                                                                                                                                                                                                                                   SUMMARY OF ADOPTED ORDINANCE INCREASING
                                                                                                    HUSKY pups Adorable Husky pups.
                                                                                                    8wks F/$400 M/$350. Beautiful blue                                 WANTED Ford /M/F Tractors any cond
                                                                                                    eyes. $400 barnett9911@gmail.com                                   3PT equip Tractor Ferguson Fork Lift
                                                                                                                                                                                                                                                                COUNCIL MEMBER COMPENSATION
          Misc                                                                                      559-975-6290
                                                                                                    JACK RUSSELL Pups nice Purebreds!
                                                                                                                                                                       Trailer/Mower deck, R Tires 270-7707
                                                                                                                                                                                                                                                NOTICE IS HEREBY GIVEN that on February 7, 2019, the City Council of the
                                                                                                                                                                                                                                         City of Parlier adopted an ordinance approving an increase in monthly compensa-
       Employment                                                                                   5Girls 4Boys shots $500 559-313-
                                                                                                    9542 himountainsnow8k@live.com
                                                                                                                                                                          Place your own ad, 24/7
                                                                                                                                                                          fresnobee.com/placead                                          tion payable to the Mayor and City Council members from $350 to $927 and $300
                                                                                                                                                                                                                                         to $795, respectively.
                                                   Low hrs., 4X4, Cummins turbo diesel,
                                                   4in1 bucket, extend-a-hoe, Wain Roy,
            Work Wanted                            plumbed for a hammer or drill, forks                                                               PUBLIC NOTICE                                                                      AYES:   4 COUNCIL MEMBERS: Beltran, Maldonado, Pimentel and Rodriguez.
                                                   and hammer available but not                                                                                                                                                          NOES:   0
                                                   included in the price.--$27500                                                                                                                                                        ABSENT: 1 COUNCIL MEMBER: Escoto.
                                                   woodozz@sbcglobal.net 925-766-7410                                                                       #4085741
 GARY McDonald Homes is looking
 to hire a full-time Customer Service                                                                                                                                                                                                    ATTEST
 Manager to handle home owner war-                 ELIMINATE RATS & MICE-                                                              CLOVIS UNIFIED SCHOOL DISTRICT
 ranty claims. Applicants must have                GUARANTEED! Buy Harris Baits,
 industry experience. Send resume                  Traps, Repellents
 and references to steveh@garymcd                  Available: Hardware Stores,                                                                      NOTICE TO BIDDERS
                                                   Buy Online: homedepot.com                                                                                                                                                             /s/Bertha Augustine, Deputy City Clerk
 onaldhomes.com
                                                   kevin@pfharris.com 800-637-0317                  The Board of Trustees of the Clovis Unified School District of Fresno County, Califor-
                                                                                                    nia invites and will receive sealed proposals for BID NO. 2763 for the award of Of-
                                                                                                    fice Supplies for Central Warehouse on or before 3:00 PM, on March 4, 2019 in the
                                     PUBLIC NOTICE                                                  Purchasing Department of Clovis Unified School District, 1450 Herndon Avenue,                                                                                                       PUBLIC NOTICE
                                                                                                    Clovis, California 93611, after which time and place the bids will be opened and
                                           #4079633                                                 read in public.                                                                                                                                                                        #4079756
                                                                                                                                                                                                                                                                                           SUMMONS
                    NOTICE OF PRELIMINARY DECISION FOR THE                                          Bids must be accompanied by a bidder’s bond, cashier’s check or certified check for                                                                                               (CITACION JUDICIAL)
                 PROPOSED RENEWAL OF THE FEDERALLY MANDATED                                         TEN PERCENT (10%) of the amount of the bid. The bidders bond or certified check
                               OPERATING PERMIT                                                     shall be made payable to the Clovis Unified School District and shall be given as a                                                  NOTICE TO DEFENDANT (AVISO AL DEMANDADO):
                                                                                                    guarantee that the bidder will enter into a contract if awarded the work, and will be                                                Hasan A Mohammad, aka Hasan Ahmad Mohammed, an individual; Does 1
NOTICE IS HEREBY GIVEN that the San Joaquin Valley Air                                              declared forfeited, paid to, or retained by the District as liquidated damages if the                                                through 20, inclusive.
Pollution Control District solicits public comment on the                                           bidder refuses or neglects to enter into a contract on the terms of the accepted pro-
proposed renewal of the Federally Mandated Operating Permit                                         posal within fourteen (14) calendar days after bidders notification of District’s ac-                                                YOU ARE BEING SUED BY PLAINTIFF
to Cal Peak Power - Panoche, LLC at 43699 W Panoche Rd,                                             ceptance of the proposal. Bidders may not withdraw bids for a period of forty-five                                                   (LO ESTÁ DEMANDANDO EL DEMANDANTE):
Firebaugh, California.                                                                              (45) days after the date set for opening of bids.
The District’s analysis of the legal and factual basis for this
                                                                                                                                                                                                                                         American Express National Bank f/k/a American Express Centurion Bank
proposed action, project # C-1173181, is available for public                                       Bids shall be made on forms prepared by the Clovis Unified School District. Bid
inspection at                                                                                       forms, specifications and further information may be obtained from Cheryl Loyko,
http://www.valleyair.org/notices/public_notices_idx.htm and at                                                                                                                                                                           NOTICE! You have been sued. The court may decide against you without your be-
                                                                                                    Lead Buyer, in the Purchasing Department, phone (559) 327-9475.                                                                      ing heard unless you respond within 30 days. Read the information below.
any District office. There are no emission changes associated
                                                                                                                                                                                                                                             You have 30 CALENDAR DAYS after this summons and legal papers are served
with this proposed action. This will be the public’s only                                           The District reserves the right to accept or reject any or all proposals, or any combi-                                              on you to file a written response at this court and have a copy served on the plain-
opportunity to comment on the specific conditions of the                                            nation of proposals, and to waive any irregularities or informalities which may be                                                   tiff. A letter or phone call will not protect you. Your written response must be in
proposed renewal of the Federally Mandated Operating                                                legally waived.                                                                                                                      proper legal form if you want the court to hear your case. There may be a court
permit. If requested, the District will hold a public hearing
                                                                                                                                                                                                                                         form that you can use for your response. You can find these court forms and more
regarding issuance of this renewed permit. For additionalK                                          Published:Dates:(1) 2/14/2019 (2) 2/21/2019                                                                                          information at the California Courts Online Self-Help Center (www.courtinfo.ca.gov
information, please contact the District at (559) 230-6000.
                                                                                                                                                                                                                                         /selfhelp), your county law library, or the courthouse nearest you. If you cannot pay
Written comments on this project must be sent or postmarked                                         CLOVIS UNIFIED SCHOOL DISTRICT                                                                                                       the filing fee ask the court clerk for a fee waiver form. If you do not file your re-
by March 18, 2019 to publicnotices@valleyair.org or ARNAUD
                                                                                                                                                                                                                                         sponse on time, you may lose the case by default, and your wages, money, and
MARJOLLET, DIRECTOR OF PERMIT SERVICES, SAN                                                         Michael Johnston                                                                                                                     property may be taken without further warning from the court.
JOAQUIN VALLEY AIR POLLUTION CONTROL DISTRICT,                                                      Associate Superintendent of Administrative Services                                                                                      There are other legal requirements. You may want to call an attorney right away.
1990 EAST GETTYSBURG AVENUE, FRESNO, CA 93726.
                                                                                                                                                                                                                                         If you do not know an attorney, you may want to call an attorney referral service. If
2/14/19
                                                                                                                                                                                                                                         you cannot afford an attorney, you may be eligible for free legal services from a
CNS-3220692#
                                                                                                                                                                                                                                         nonprofit legal services program. You can locate these nonprofit groups at the Cali-
THE FRESNO BEE
                                                                                                                                 United States Bankruptcy Court for the Northern District of California                                  fornia Legal Services Web site (www.lawhelpcalifornia.org), the California Courts
                                                                                                     Debtors: PG&E Corporation and Paciﬁc Gas and Electric Company                                                                       Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), or by contacting your local
                                                                                                     Datecasesﬁledinchapter11: 01/29/2019                                                                                                court or county bar association. NOTE: The court has a statutory lien for waived fees
                                     PUBLIC NOTICE                                                   Casenumber: 19-30088(DM)(LeadCase;JointlyAdministered)                                                                              and costs on any settlement or arbitration award of $10,000 or more in a civil case.
                                                                                                     Notice of Chapter 11 Bankruptcy Cases                                                                                               The court’s lien must be paid before the court will dismiss the case.
                                           #4070034                                                      For the debtors listed above,cases have been ﬁled under chapter 11 of the Bankruptcy Code and orders for relief have been       ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede
                                                                                                     entered.Thisnoticehasimportantinformation about thecases forcreditors,debtors,and trustees,including informationabout
                                                                                                     themeetingofcreditorsanddeadlines.                                                                                                  decidir en su contra sin escuchar su versión. Lea la información a continuación.
ORDER TO SHOW CAUSE FOR CHANGE OF NAME                                                                   The ﬁling of the cases imposed an automatic stay against most collection activities.This means that creditors generally may         Tiene 30 DIAS DE CALENDARIO después de que le entreguen esta citación y pa-
                                                                                                     not take action to collect debts from the debtors or the debtors’ property. For example, while the stay is in effect, creditors     peles legales para presentar una respuesta por escrito en esta corte y hacer que se
                                                                                                     cannot sue, assert a deﬁciency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand
CASE NUMBER: 18CECG04420                                                                             repayment from the debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and           entregue una copia al demandante. Una carta o una llamada telefónica no lo
                                                                                                     punitivedamagesandattorney’sfees.                                                                                                   protegen. Su respuesta por escrito tiene que estar en formato legal correcto si desea
                                                                                                         Conﬁrmation of a chapter 11 plan may result in a discharge of debt.A creditor who wants to have a particular debt excepted      que procesen su caso en la corte. Es posible que haya un formulario que usted
TO ALL INTERESTED PERSONS:                                                                           from discharge may be required to ﬁle a complaint in the bankruptcy clerk’s ofﬁce within the deadline speciﬁed in this notice.      pueda usar para su respuesta. Puede encontrar estos formularios de la corte y más
                                                                                                     (Seeline11belowformoreinformation.)
                                                                                                         To protect your rights,consult an attorney.All documents ﬁled in the cases may be inspected at the bankruptcy clerk’s ofﬁce     información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov
1. Petitioner: JOE LOUIE MEDINA filed a petition with the court for a decree                         attheaddressbeloworthroughPACER(PublicAccesstoCourtElectronicRecordsatwww.pacer.gov).                                               ), en la biblioteca de leyes de su condado o en la corte que le queda más cerca. Si
changing names as follows:                                                                               The staff of the bankruptcy clerk’s ofﬁce cannot give legal advice. Do not ﬁle this notice with any proof of                    no puede pagar la cuota de presentación, pida al secretario de la corte que le dé
                                                                                                     claimorotherﬁlinginthecases.                                                                                                        un formulario de exención de pago de cuotas. Si no presenta su respuesta a
                                                                                                         1. Debtors’ full names: Debtor, Address, Case No., EIN#: PG&E Corporation, 77 Beale Street, P.O. Box 77000, San
                    Present name                           Proposed name                             Francisco, California 94177, 19-30088 (DM), XX-XXXXXXX; Paciﬁc Gas and Electric Company, 77 Beale Street, P.O. Box 77000,           tiempo, puede perder el caso por incumplimiento y la corte le podrá quitar su
a.                 JOE LOUIE MEDINA           to          JOSE LUIS BAUTISTA                         San Francisco,California 94177,19-30089 (DM),XX-XXXXXXX.                                                                            sueldo, dinero y bienes sin más advertencia.
                                                                                                         2. All other names used in the last 8 years: n/a                                                                                      Hay otros requisitos legales. Es recomendable que llame a un abogado
                                                                                                         3. Address: See above
                                                                                                         4. Debtors’ Attorneys: Tobias S. Keller (#151445), KELLER & BENvENUTTi LLP, 650 California Street, Suite 1900, San              inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
2. THE COURT ORDERS that all persons interested in this matter appear before this                    Francisco, CA 94108 -and- Stephen Karotkin (pro hac vice), WEiL, GOTSHAL & MANGES LLP, 767 Fifth Avenue, New York, NY               remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla
court at the hearing indicated below to show cause, if any, why the petition for                     10153. Debtors’ Claims and Noticing Agent: If you have questions about this notice, please contact Prime Clerk                      con los requisitos para obtener servicios legales gratuitos de un programa de servi-
change of name should be granted. Any person objecting to the name changes                           LLC. Contact Phone: (844) 339-4217 (Toll Free), +1 (929) 333-8977 (Int’l). Email: pgeinfo@primeclerk.com.                           cios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro in el
                                                                                                     Website: https://restructuring.primeclerk.com/pge
described above must file a written objection that includes the reasons for the                          5. Bankruptcy clerk’s ofﬁce: U.S. Bankruptcy Court, 450 Golden Gate Avenue, Mail Box 36099, San Francisco, CA                   sitio web de California Legal Services, (www.lawhelpcalifornia.org), en el Centro de
objection at least two court days before the matter is scheduled to be heard and                     94102.Hours open:Monday-Friday, 9 a.m.- 4:30 p.m.(CT).Contact phone:888-821-7606.Documents in these cases may                       Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto
must appear at the hearing to show cause why the petition should not be granted.                     be ﬁled at this address.You may inspect all records ﬁled in these cases at this ofﬁce or online at www.pacer.com.                   con la corte o el colegio de abogados locales. AVISO: Por ley, la corte tiene
If no written objection is timely filed, the court may grant the petition without a                      6. Meeting of creditors: Date and Time: Monday March 4, 2019 at 10:00 a.m. Location: Phillip Burton Federal                     derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
                                                                                                     Building and U.S.Courthouse, 450 Golden Gate Avenue, 2nd Floor, California Conference Room, San Francisco, CA 94102.The
hearing.                                                                                             debtors’representative must attend the meeting to be questioned under oath.Creditors may attend, but are not required to            cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o
                                                                                                     do so. The meeting may be continued or adjourned to a later date.if so,the date will be on the court docket.                        una concesión de arbitraje en un caso de derecho civil. Tiene que pagar el
                                   NOTICE OF HEARING                                                     7. Proof of claim deadline: Deadline for ﬁling proof of claim: To Be Determined. A proof of claim is a signed                   gravamen de la corte antes de que la corte pueda desechar el caso.
                                                                                                     statement describing a creditor’s claim. A proof of claim form may be obtained at www.uscourts.gov or any bankruptcy
                                                                                                     clerk’s ofﬁce.Your claim will be allowed in the amount scheduled unless: • your claim is designated as disputed, contingent,
a. March 18, 2019          Time: 8:30 AM Dept. 404                                                   or unliquidated; • you ﬁle a proof of claim in a different amount;or • you receive another notice.If your claim is not scheduled    The name and address of the court is: (El nombre y dirección de la corte es):
                                                                                                     or if your claim is designated as disputed,contingent,or unliquidated,you must ﬁle a proof of claim or you might not be paid        SUPERIOR COURT OF CALIFORNIA - COUNTY OF FRESNO
b. The address of the court is:                                                                      on your claim and you might be unable to vote on a plan.You may ﬁle a proof of claim even if your claim is scheduled.You            1130 "O" STREET, FRESNO, CALIFORNIA 93721-2220
                                                                                                     may review the schedules at the bankruptcy clerk’s ofﬁce or online at www.pacer.gov.Secured creditors retain rights in their
SUPERIOR COURT OF CALIFORNIA, COUNTY OF FRESNO                                                       collateral regardless of whether they ﬁle a proof of claim. Filing a proof of claim submits a creditor to the jurisdiction of the
1130 "O" Street                                                                                      bankruptcy court, with consequences a lawyer can explain. For example, a secured creditor who ﬁles a proof of claim may             CASE NUMBER: (Número del Caso): 18CECG02844
Fresno, California 93721                                                                             surrender important nonmonetary rights,including the right to a jury trial.
                                                                                                         8. Exception to discharge deadline: You must start a judicial proceeding by ﬁling a complaint if you want to have a             The name, address, and telephone number of plaintiff’s attorney, or plaintiff without
                                                                                                     debt excepted from discharge under 11 U.S.C.§ 1141(d)(6)(A).The bankruptcy clerk’s ofﬁce must receive a complaint and any
                                                                                                     requiredﬁlingfeebythefollowingdeadline. Deadlineforﬁlingthecomplaint:ToBeDetermined                                                 an attorney is: (El nombre, la dirección y número de teléfono del abogado del
3. a. A copy of the Order to Show Cause shall be published at least once a week for                      9. Creditors with a foreign address: if you are a creditor receiving notice mailed to a foreign address, you may ﬁle a          demandante, o del demandante que no tiene abogado, es):
four successive weeks prior to the date set for hearing on the petition in the follow-               motion asking the court to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy          Lina M. Michael (Bar#237842 Stephanie S. Ho (Bar#306109)
                                                                                                     law if you have any questions about your rights in these cases.
ing newspaper of general circulation, printed in the county: The Fresno Bee                              10. Filing a Chapter 11 bankruptcy case: Chapter 11 allows debtors to reorganize or liquidate according to a plan.A             MICHAEL & ASSOCIATES, 555 St. Charles Drive, Suite 204, Thousand Oaks, CA
                                                                                                     plan is not effective unless the court conﬁrms it.You may receive a copy of the plan and a disclosure statement telling you         91360. Fax No.: (805) 379-8525 Phone No.: (805) 379-8505
                                                                                                     about the plan,and you may have the opportunity to vote on the plan.You will receive notice of the date of the conﬁrmation
Date: 12/10/2018                /s/ Monica Diaz                                                      hearing,and you may object to conﬁrmation of the plan and attend the conﬁrmation hearing.Unless a trustee is serving,the            Date (Fecha): 8/6/2018 Clerk, by (Secretario), M. Douangkham, Deputy (Adjunto)
                                                                                                     debtors will remain in possession of the property and may continue to operate their business.
                               JUDGE OF THE SUPERIOR COURT                                               11. Discharge of debts: Conﬁrmation of a chapter 11 plan may result in a discharge of debts, which may include all
                                                                                                     or part of your debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
                                                                                                     debtors except as provided in the plan. if you want to have a particular debt owed to you excepted from the discharge
                                                                                                     under 11 U.S.C. § 1141(d)(6)(A), you must start a judicial proceeding by ﬁling a complaint and paying the ﬁling fee in the
                                                                                                     bankruptcy clerk’s ofﬁce by the deadline.                                                                     0004083624-01




                                                                                                                                                                                                                                                                                                                 Go online to
                                                                                                                                                                                                                                                                                                                   view our
                                                                                                                                                                                                                                                                                                              Services Directory
                                                                                                                                                                                                                                                                                                              at fresnobee.com
       To place an ad in the Services Directory, call 441-6621 or 442-4442
                Attention                             Cleaning & Janitorial                                Home and Business                                                   Home and Business                                               Home and Business                                                  Lawn / Garden /
       NOTICE TO READERS                             CARPET CLEAN/REPAIR/INSTALL                             Improvement                                                         Improvement                                                     Improvement                                                    Landscaping / Trees
                                                     CAN DO TODAY Clean/Repair/Dye
The Fresno Bee publishes home improve-              Water damage/Tile cleaning. Free est             ELECTRICAL - SELSOR ELECTRIC                                              PLASTERING/STUCCO                                         ROOFING CONTRACTORS         #1021846                                         #1 TREE SURGERY/SERVICE
ment & construction advertisements                      20 yrs exp. (559) 307-4282                   Free in home estimates, Residential,                                   REDASH-WATERDAMAGE-CRACKS                                    STORM SHIELD ROOFING Free Inspect                                                VALLEY TREE SERVICE
from companies & individuals who have                                                                    Commercial & Industrial, Lic.                                       REPAIRS 3 Generations of Quality                            BBB Accredited A+ Rating! Price Guar.                                        We do it all. Free est. Sr. disc.
                                                   Same Day Service Carpet, Tile, Aggre-             #1034618, Call Scott 559-385-3147                                       (559) 281-3855 Lic #508301                                  Sr Disc. Sprint Special 559.940.4690                                           BBB #855475. Insured.
been licensed by the State of California.
                                                   gate, Cleaning, Repairs & Installs Your                ELECTRIC Quality, dependable                                                                                                                                                                                            (559) 226-8424
We also publish advertisements from                Materials or ours.Sand& Refinish Floors                                                                             PLUMBING - 449.1234 BULLDOG                                       ROO FING & HOME IMPROVEMENTS
unlicensed companies & individuals.                Lic.#966418. Call/Tex 559.217.7350                        NO JOB TOO SMALL or BIG                                   Plumbing All kinds + mobile homes. Sr.                                  Over 35 years experience
California law requires that contractors                                                                    24/7 Electrical Svc & Repair                               discount or 25% discount w/ad. Visa                                (559) 213-3861 or (559) 855-7750
                                                                                                    Lic 508597 559-266-1952 Free est                                   /MC Lic. #974978 559.449.1234                                              License #779906                                        I.V. TREE SERVICES Trimming, Topping,
taking jobs that total $500 or more (labor                                                                                                                                                                                                                                                               Pruming, Stump Grinding, 70’ boom.
or materials) be licensed by the Contrac-               Home and Business                                    FENCING - FENCEWORKS
                                                                                                        No. 1 American Cedar Dog Ear
                                                                                                                                                                       PLUMBING -- GOODE Plumbing       All                               TILE WORK Hashimoto Tile Co
                                                                                                                                                                                                                                                                                                         BBB, 15 yrs exp. Free est, lic’d, ins &
                                                                                                                                                                                                                                                                                                         bond. #978186. Call 559.395.6757
tors State License Board. State law also                                                                                                                               types. Water Heaters, Sewer Repair,
requires that contractors include their                   Improvement                                   $17.45/lin ft, based on 100 ft.
                                                                                                             complete #299964
                                                                                                                                                                       Leak Detection, 25% disc. w/ad. For                                45 Yrs BBB A+ #407915 240.6188
license number on all advertising. Califor-                                                                                                                            Fast Prof’l Svc Call 451-1887 #941110                                                                                             JESSE’S TREE SERVICE Stump Grind-
                                                       ALL GARAGE DOOR REPAIRS                        454-1712 1250 N. Backer, Fresno
nia law prohibits unlicensed contractors                                                                                                                                ROOFING - 30 YRS EXP. in FRESNO/                                                                                                 ing, Hauling, General Clean-ups & Odd
from taking jobs that total $500 or more            ACCESS PRO GARAGE DOORS                         GARAGE DOOR INSTALL/REPAIR                                          CLOVIS All roofing & repairs. Roofing                                Junk / Trash / Debris                                       Jobs. Free Estimates. Lic. #1017900
                                                                                                    GARAGE            DOORS           AND         OPENERS                                                                                                                                                Bonded & Insured. Call 559-708-9152
(labor or materials). Unlicensed contrac-          Lic. #683491 û 559-276-3950                                                                                         Certifications. Senior disc. Lic#635734.
tors taking jobs that total less than $500
                                                                                                    Repairs + New Install + Showroom
                                                                                                    CENTRAL VALLEY OVERHEAD 475-5809                                      Five Star Roofing: 559-724-9129                                          Removal
must state in the advertisements that they         BUILDING/REMODELING         BULLDOG                                                                                                                                                                                                                        MID VALLEY TREE SERVICE
                                                                                                         GARAGE DOOR REPAIRS                                           ROOFING A+ HOME RE-ROOFING                                        AFFORDABLE HAULING -Indoor &                                     Complete Tree Service & Stump Grind-
are not licensed by the Contractors State          CONST. Additions, remodel, repairs &                                                                                       ù Best Service & Pricesù                                   Outdoor Hauls, Garage, Real Estate &
                                                   roofing. Brick & block work. Call                  & Emergency, Broken Springs, 24/7.                                                                                                                                                                 ing. Free Estimates. License #1047859
License Board.                                                                                                                                                            Since 1985 Free Est. MC / VISA                                 Tree Trimming, ODD JOBS BIG &                                     Bonded & Insured. 559.548-9296
You can check the status of your licensed           (559) 449.1234 License #974978                             Call 559.233-4488                                       Lic #481146 BBB=A+ (559) 325-1761                                 SMALL. Free Est. Unlic 559-314-5478
contractor @ www.cslb.ca.gov or call the           DRYWALL SERVICE -- PATCHWORK,                    PAINTING Gene Co Painting - Clean              ROOFING ALCON’S ROOFING INC.           JOHN’S CLEANUP All Properties Resd’l SPRINKLERS & REPAIRS, Installation,
Contractors State License Board.                       Case: 19-30088
                                                   Skip-trowel, Tape & Texture, Acoustic           Doc# 522-4                           Filed: 02/20/19
                                                                                                    work, good material, interior/exterior.                      Entered:
                                                                                                                                                    23 Yrs of Exp.  Residential &02/20/19       18:38:39
                                                                                                                                                                                  Comm’l. Comm’l,  Mulch/Soil HaulingPage
                                                                                                                                                                                                                       & Bobcat9 No Job Too Small. Free Estimates.
               1-800-321-2752                      Removal, Hand Texture Finishes, unlic.           Good References. Lic #980933. Free              All types of Roof. License #1042510
                                                   Over 25 years exp! 559-250-1513                  Estimates. Call Gene 559.519.0983                9 682-7946 or (559) 903-4336 Work
                                                                                                                                                 of (559)                                       Big- Small Jobs, no problem. Free
                                                                                                                                                                                          Est. 559-217-4393 #1024662/Bonded Unlic. Robert 559-800-2849
